                    Case 25-10296                   Doc 1          Filed 06/30/25 Entered 06/30/25 19:07:33                            Desc Main
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 Fill in this information to identify the case:

 United States Bankruptcy Court for the:
                              Eastern District of Texas

 Case number (if known):                                            Chapter     11                                                     ❑ Check if this is an
                                                                                                                                           amended filing

Official Form 201
Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                                                                       04/25
If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor’s name and the case number (if known). For
more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is available.



    1. Debtor's name                              TexStar Lumber, Inc.


    2. All other names debtor used
       in the last 8 years

     Include any assumed names,
     trade names, and doing business
     as names



    3. Debtor's federal Employer                  8       7 – 1    9   2    1   2    4   3
       Identification Number (EIN)



    4. Debtor's address                            Principal place of business                                 Mailing address, if different from principal place of
                                                                                                               business

                                                   Attn: Mohamed Zubair Abdul Aleem                            Attn: Lloyd A. Lim

                                                   5925 Fm 1003 Rd S                                           711 Louisiana St
                                                   Number          Street                                      Number        Street

                                                   Kountze, TX 77625-8223                                      Houston, TX 77002-2832
                                                   City                                  State   ZIP Code      City                              State      ZIP Code

                                                                                                               Location of principal assets, if different from principal
                                                   Hardin                                                      place of business
                                                   County




                                                                                                               Number        Street



                                                                                                               City                              State      ZIP Code




    5. Debtor's website (URL)



    6. Type of debtor                             ✔ Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))
                                                  ❑
                                                  ❑ Partnership (excluding LLP)
                                                  ❑ Other. Specify:




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Debtor      TexStar Lumber, Inc.                                                                                Case number (if known)
           Name
                                                A. Check one:
    7. Describe debtor's business
                                                ❑ Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                                ❑ Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                                ❑ Railroad (as defined in 11 U.S.C. §101(44))
                                                ❑ Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                                ❑ Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                                ❑ Clearing Bank (as defined in 11 U.S.C. §781(3))
                                                ✔ None of the above
                                                ❑
                                                B. Check all that apply:
                                                ❑ Tax-exempt entity (as described in 26 U.S.C. §501)
                                                ❑ Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C. § 80a-3)
                                                ❑ Investment advisor (as defined in 15 U.S.C. § 80b-2(a)(11))

                                                C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor. See
                                                   http://www.uscourts.gov/four-digit-national-association-naics-codes .
                                                   1      1     3     3

    8. Under which chapter of the               Check one:
       Bankruptcy Code is the                   ❑ Chapter 7
       debtor filing?
                                                ❑ Chapter 9
                                                ✔ Chapter 11. Check all that apply:
                                                ❑
                                                   ✔ Debtor’s aggregate noncontingent liquidated debts (excluding debts owed to insiders or affiliates)
                                                   ❑
                                                              are less than $3,424,000 (amount subject to adjustment on 4/01/28 and every 3 years after that).
                                                       ✔ The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D). If the debtor is a small
                                                       ❑
                                                              business debtor, attach the most recent balance sheet, statement of operations, cash-flow
                                                              statement, and federal income tax return or if all of these documents do not exist, follow the
                                                              procedure in 11 U.S.C. § 1116(1)(B).
                                                       ✔ The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D), and it chooses to
                                                       ❑
                                                              proceed under Subchapter V of Chapter 11.
                                                       ❑ A plan is being filed with this petition.
                                                       ❑ Acceptances of the plan were solicited prepetition from one or more classes of creditors, in
                                                              accordance with 11 U.S.C. § 1126(b).
                                                       ❑ The debtor is required to file periodic reports (for example, 10K and 10Q) with the Securities and
                                                              Exchange Commission according to § 13 or 15(d) of the Securities Exchange Act of 1934. File the
                                                              Attachment to Voluntary Petition for Non-Individuals Filing for Bankruptcy under Chapter 11
                                                              (Official Form 201A) with this form.
                                                       ❑ The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule 12b-2.
                                                ❑ Chapter 12
    9. Were prior bankruptcy cases filed        ✔ No
                                                ❑
       by or against the debtor within the
       last 8 years?
                                                ❑ Yes. District                                       When                    Case number
                                                                                                             MM / DD / YYYY
     If more than 2 cases, attach a                       District                                     When                    Case number
     separate list.
                                                                                                              MM / DD / YYYY

  10. Are any bankruptcy cases pending          ✔ No
                                                ❑
      or being filed by a business partner
      or an affiliate of the debtor?            ❑ Yes. Debtor                                                                 Relationship

     List all cases. If more than 1, attach a             District                                                             When
     separate list.                                                                                                                          MM / DD / YYYY
                                                          Case number, if known




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Debtor        TexStar Lumber, Inc.                                                                       Case number (if known)
             Name


  11. Why is the case filed in this   Check all that apply:
      district?
                                      ✔ Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days
                                      ❑
                                         immediately preceding the date of this petition or for a longer part of such 180 days than in any other
                                         district.
                                      ✔ A bankruptcy case concerning debtor’s affiliate, general partner, or partnership is pending in this district.
                                      ❑
  12. Does the debtor own or have     ✔ No
                                      ❑
      possession of any real
      property or personal property
                                      ❑ Yes. Answer below for each property that needs immediate attention. Attach additional sheets if needed.
      that needs immediate                      Why does the property need immediate attention? (Check all that apply.)
      attention?                                ❑ It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or safety.
                                                      What is the hazard?


                                                ❑ It needs to be physically secured or protected from the weather.
                                                ❑ It includes perishable goods or assets that could quickly deteriorate or lose value without attention
                                                      (for example, livestock, seasonal goods, meat, dairy, produce, or securities-related assets or other
                                                      options).
                                                ❑ Other
                                                Where is the property?
                                                                          Number        Street




                                                                          City                                         State    ZIP Code
                                                Is the property insured?
                                                ❑ No
                                                ❑ Yes.        Insurance agency
                                                              Contact name
                                                              Phone


          Statistical and administrative information

         13. Debtor’s estimation of   Check one:
             available funds?         ❑ Funds will be available for distribution to unsecured creditors.
                                      ✔ After any administrative expenses are paid, no funds will be available for distribution to unsecured
                                      ❑
                                         creditors.

         14. Estimated number of
                                       ✔ 1-49 ❑ 50-99
                                       ❑                                  ❑ 1,000-5,000 ❑ 5,001-10,000             ❑ 25,001-50,000 ❑ 50,000-100,000
             creditors                 ❑ 100-199 ❑ 200-999                ❑ 10,001-25,000                          ❑ More than 100,000

         15. Estimated assets
                                       ✔ $0-$50,000
                                       ❑                                     ❑ $1,000,001-$10 million                  ❑ $500,000,001-$1 billion
                                       ❑ $50,001-$100,000                    ❑ $10,000,001-$50 million                 ❑ $1,000,000,001-$10 billion
                                       ❑ $100,001-$500,000                   ❑ $50,000,001-$100 million                ❑ $10,000,000,001-$50 billion
                                       ❑ $500,001-$1 million                 ❑ $100,000,001-$500 million               ❑ More than $50 billion




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                          WRITTEN CONSENT & RESOLUTIONS
                                              of the
                      SHAREHOLDERS OF TEXSTAR LUMBER, INC.
                                          June 28, 2025

        The undersigned, constituting the directors and shareholders (the “Shareholders”) of
TexStar Lumber, Inc. (the “Company”), hereby consent in writing (the “Consent”) to and approve
the Resolutions set forth herein, and each and every action effected thereby. This Consent may be
executed in counterparts, each of which shall be deemed an original, and all of which, taken
together shall constitute one instrument. A copy of this Consent signed and delivered by telecopy,
email, or facsimile transmission shall be considered an original.
 VOLUNTARY PETITION FOR RELIEF UNDER CHAPTER 11 OF TITLE 11 OF THE
                       UNITED STATES CODE
        WHEREAS, the Shareholders have considered the Company’s assets, liabilities, liquidity,
the strategic alternatives available to the Company, offers to sell the Company or its assets, and
the impact of the forgoing on the Company’s business; and
       WHEREAS, the Shareholders upon the advice of professionals has determined that it is
advisable and in the best interests of the Company, its creditors, and other interested parties that
the Company file a voluntary petition for bankruptcy (the “Petition”) in the United States
Bankruptcy Court for the Southern District of Texas, Houston Division (the “Bankruptcy Court”),
under the provisions of Chapter 11 of Title 11 of the United States Code, 11 U.S.C. §§ 101, et seq.
(the “Bankruptcy Code”), in such form and at such time as the officers of the Company shall
determine, which shall initiate a bankruptcy case for the Company under Chapter 11 of the
Bankruptcy Code (the “Bankruptcy Case”).
       NOW, THEREFORE, BE IT RESOLVED, that Mohamed Zubair Abdul Aleem
(“Zubair”) is authorized to execute the Petition and empowered, on behalf of and in the name of
the Company, to take such further actions to cause the filing of the Bankruptcy Case;
        RESOLVED FURTHER, that the Shareholders, and/or Zubair, are authorized, and
empowered, on behalf of and in the name of the Company to employ and retain the law firm of
Kean Miller, LLP (“KM”) as bankruptcy counsel for the Company in the Bankruptcy Case. KM
shall represent and assist the Company in carrying out its respective duties under the Bankruptcy
Code, and to take any and all actions to advance the Company’s rights and obligations, and, in
connection therewith, the Shareholders are authorized and directed to execute an appropriate
retention agreement, pay appropriate retainers, and cause to be filed appropriate applications for
authority to retain the services of KM. To the extent that the appropriate retention agreement has
been executed and retainers paid, the Company hereby retroactively approves same;



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        RESOLVED FURTHER, that the Shareholders are authorized, and empowered, on behalf
of and in the name of the Company, to employ and retain such further legal, financial, accounting
and bankruptcy services firms (together with KM, collectively the “Professionals”) as may be
deemed necessary or appropriate by the Officer(s) of the Company, including, without limitation,
Zubair, for the Bankruptcy Case and, in connection therewith, are authorized and directed to
execute appropriate retention agreements, pay appropriate retainers, and cause to be filed
appropriate applications for authority to retain services of such Professionals;
        RESOLVED FURTHER, that the Shareholders, and/or Zubair, are authorized, and
empowered, on behalf of and in the name of the Company, to obtain debtor-in-possession financing
to pay for operational expenses of the Company, including all fees incurred by Professionals in the
Bankruptcy Case (if necessary);
       RESOLVED FURTHER, that the Shareholders are authorized, and empowered, on behalf
of and in the name of the Company, to appoint and shall appoint Zubair as the acting Operating
Manager and Corporate Representative of the Company for the Bankruptcy Case;
        RESOLVED FURTHER, that Zubair, as acting Operating Manager and Corporate
Representative of the Company for the Bankruptcy Case, in connection therewith, is authorized
and directed to verify, and/or file, or cause to be filed and/or executed or verified (or direct others
to do so on the Company’s behalf as provided herein) all necessary documents, including, without
limitation, all petitions, applications to employ and retain all Professionals, and to take any and all
action that they deem necessary and proper in connection with the Bankruptcy Case;
        RESOLVED FURTHER, that all acts lawfully done, or actions lawfully taken by the
Shareholders, including Zubair, or any Professional to seek relief on behalf of the Company under
the Bankruptcy Code or in connection with the Bankruptcy Case, or any matter or proceeding
related thereto, be, and hereby are, adopted, ratified, confirmed, and approved in all respects as the
acts and deeds of the Company;
        RESOLVED FURTHER, that the Shareholders, including Zubair, are authorized, and
empowered, with full power of delegations, for and in the name and on behalf of the Company to
amend, supplement, or otherwise modify from time to time the terms of any documents,
certificates, instruments, agreements, or other writings referred to, discussed in or related to the
matter referred to in the foregoing resolutions; and
        RESOLVED FURTHER, that any and all actions of the Shareholders, including Zubair,
taken prior to the date hereof to (a) carry out the purposes of the foregoing resolutions and the
transactions contemplated thereunder, and (b) take any such action to constitute conclusive
evidence of the exercise of such discretionary authority, be and hereby are ratified, approved, and
confirmed in all respects.
                         GENERAL IMPLEMENTING AUTHORITY
       RESOLVED, that the Shareholders, including Zubair, are authorized, and empowered,
with power of full delegation, on behalf of and in the name of the Company (a) to operate the
business of and conduct business for and on behalf of the Company during the course of the

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Bankruptcy Case, and (b) to execute, verify, and/or file, or cause to be filed and/or executed or
verified (or direct others to do so on the Company’s behalf as provided herein) all necessary
documents, including, without limitation, all petitions, applications to employ and retain all
assistance by legal counsel, accountants, or other Professionals and to take any and all action that
they deem necessary and proper in connection with the Bankruptcy Case; and
        RESOLVED FURTHER, that the Shareholders, including Zubair, are authorized, and
empowered, for and in the name and on behalf of the Company to take or cause to take or cause to
be taken any and all such further action and to execute and deliver or cause to be executed and
delivered all such further agreements, documents, certificates, and undertakings, and to incur all
such fees and expenses, as in their judgment shall be necessary, appropriate, or advisable to
effectuate the purpose and intent of any and all of the foregoing resolutions.




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 Fill in this information to identify the case:

 Debtor name                            TexStar Lumber, Inc.

 United States Bankruptcy Court for the:
                              Eastern District of Texas

 Case number (if known):                                                                                                              ❑ Check if this is an
                                                                                                                                         amended filing

Official Form 202
Declaration Under Penalty of Perjury for Non-Individual Debtors                                                                                               12/15
An individual who is authorized to act on behalf of a non-individual debtor, such as a corporation or partnership, must sign and submit this form for the
schedules of assets and liabilities, any other document that requires a declaration that is not included in the document, and any amendments of those
documents. This form must state the individual’s position or relationship to the debtor, the identity of the document, and the date. Bankruptcy Rules 1008
and 9011.

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in connection with
a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.



          Declaration and signature

         I am the president, another officer, or an authorized agent of the corporation; a member or an authorized agent of the partnership; or another individual
         serving as a representative of the debtor in this case.
         I have examined the information in the documents checked below and I have a reasonable belief that the information is true and correct:

         ❑     Schedule A/B: Assets–Real and Personal Property (Official Form 206A/B)

         ❑     Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)

         ❑     Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)

         ❑     Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G)

         ❑     Schedule H: Codebtors (Official Form 206H)

         ❑     A Summary of Assets and Liabilities for Non-Individuals (Official Form 206A-Summary)

         ❑     Amended Schedule

         ❑
         x     Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and Are Not Insiders (Official Form 204)

         ❑     Other document that requires a declaration




         I declare under penalty of perjury that the foregoing is true and correct.



         Executed on     06/30/2025
                          MM/ DD/ YYYY
                                                                            ✘ /s/ Mohamed Zubair Abdul Aleem
                                                                                Signature of individual signing on behalf of debtor


                                                                                 Mohamed Zubair Abdul Aleem
                                                                                Printed name


                                                                                 Operating Manager of Debtor
                                                                                Position or relationship to debtor



Official Form B202                                 Declaration Under Penalty of Perjury for Non-Individual Debtors
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 Fill in this information to identify the case:

 Debtor name                            TexStar Lumber, Inc.

 United States Bankruptcy Court for the:
                              Eastern District of Texas

 Case number (if known):                                                                                                                  ❑ Check if this is an
                                                                                                                                             amended filing

Official Form 204
Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20
Largest Unsecured Claims and Are Not Insiders                                                                                                                          12/15
A list of creditors holding the 20 largest unsecured claims must be filed in a Chapter 11 or Chapter 9 case. Include claims which the debtor disputes. Do not
include claims by any person or entity who is an insider, as defined in 11 U.S.C. § 101(31). Also, do not include claims by secured creditors, unless the
unsecured claim resulting from inadequate collateral value places the creditor among the holders of the 20 largest unsecured claims.

    Name of creditor and complete             Name, telephone number,         Nature of the claim     Indicate if      Amount of unsecured claim
    mailing address, including zip code       and email address of            (for example, trade     claim is         If the claim is fully unsecured, fill in only
                                              creditor contact                debts, bank loans,      contingent,      unsecured claim amount. If claim is partially
                                                                              professional            unliquidated,    secured, fill in total claim amount and deduction
                                                                              services, and           or disputed      for value of collateral or setoff to calculate
                                                                              government                               unsecured claim.
                                                                              contracts)                               Total claim, if    Deduction for       Unsecured
                                                                                                                       partially          value of            claim
                                                                                                                       secured            collateral or
                                                                                                                                          setoff
1     Byline Bank                                                             Bank Loan                                                                       $1,487,485.00
      c/o Stephanie Laird Tolson
      Hinshaw & Culbertson LLP 5151
      San Felipe Suite 1380 Houston,
      TX 77056
      180 N. Lasalle St.
      Chicago, IL 60601
2     Kadana USA, Inc.                        (212) 571-0805                  Trade                   Contingent                                                  $625,000.00
      c/o Vik Pawar 20 Vesey Street,          vik@pawarlawgroup.com           Debt-pending            Disputed
      Suite 1410, New York, New York                                          litigation              Unliquidated
      10007
      220 Davidson Ave. Suite 118
      Somerset, NJ 08873
3     Spry Holdings Inc.                                                      Trade debt                                                                          $135,000.00
      220 Davidson Avenue Suite 118
      Somerset, NJ 08873


4     Herc Rentals                            jtotz@tetlegal.com              Vendor payables-        Contingent                                                  $124,806.00
      c/o Totz Ellison & Totz ,P.C. Jon D.                                    pending litigation      Disputed
      Totz                                                                                            Unliquidated
      2211 Norfolk St
      Houston, TX 77098
5     Alvin Laird d/b/a Alvin Laird                                           Trade debt                                                                           $90,000.00
      Logging
      375 lafay dr
      Livingston, TX 77351

6     K.L. Barton & Sons Tie Co.              (936) 347-2744                  Trade debt                                                                           $90,000.00
      703 S US Highway 59
      Garrison, TX 75946


7     Internal Revenue Service                                                Federal tax debt                                                                     $76,446.76
      PO Box 7346
      Philadelphia, PA 19101


8     Internal Revenue Service                                                Federal Tax debt                                                                     $66,096.70
      PO Box 7346
      Philadelphia, PA 19101
Official Form 204                             Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims                                page 1
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Debtor       TexStar Lumber, Inc.                                                                              Case number (if known)
             Name

    Name of creditor and complete         Name, telephone number,         Nature of the claim     Indicate if      Amount of unsecured claim
    mailing address, including zip code   and email address of            (for example, trade     claim is         If the claim is fully unsecured, fill in only
                                          creditor contact                debts, bank loans,      contingent,      unsecured claim amount. If claim is partially
                                                                          professional            unliquidated,    secured, fill in total claim amount and deduction
                                                                          services, and           or disputed      for value of collateral or setoff to calculate
                                                                          government                               unsecured claim.
                                                                          contracts)                               Total claim, if    Deduction for    Unsecured
                                                                                                                   partially          value of         claim
                                                                                                                   secured            collateral or
                                                                                                                                      setoff
9     Internal Revenue Service                                            Federal tax debt                                                                 $58,199.91
      PO Box 7346
      Philadelphia, PA 19101


10 Mustang Rental Services of Texas       dpappas@dgplawfirm.com          Vendor payables-        Contingent                                               $57,825.00
   LLC                                                                    pending litigation      Disputed
      c/o Dean G. Pappas Law Firm,                                                                Unliquidated
      PLLC Dean G. Pappas
      8588 Katy Freeway Suite 100
      Houston, TX 77024
11 Kalidasan Ramakrishnan                                                 Unpaid employee                                                                  $45,000.00
   17231 Blackhawk Blvd Apt 1310                                          wages
   Friendswood, TX 77546


12 Internal Revenue Service                                               Federal tax penalty     Disputed                                                 $42,123.33
   PO Box 7346
   Philadelphia, PA 19101


13 Internal Revenue Service                                               Federal tax penalty     Disputed                                                 $34,095.28
   PO Box 7346
   Philadelphia, PA 19101


14 Internal Revenue Service                                               Federal tax penalty     Disputed                                                 $31,469.64
   PO Box 7346
   Philadelphia, PA 19101


15 Diesel Direct                          (888) 900-7787                  Trade Debt                                                                       $20,000.00
   16130 Aldine Westfield Rd
   Houston, TX 77032


16 Sun Coast Resources, Inc.              (713) 844-9600                  Default judgment        Contingent                                               $17,869.26
   6405 Cavalcade St                                                                              Disputed
   Houston, TX 77026


17 Internal Revenue Service                                               Federal tax penalty     Disputed                                                 $15,666.57
   PO Box 7346
   Philadelphia, PA 19101


18 Division of Workers'                                                   Unpaid workers                                                                   $15,000.00
   Compensation                                                           compensation
      PO Box 12050                                                        premiums
      Austin, TX 78711

19 Prosperum Funding                      (844) 804-3511                  Trade debt                                                                        $9,500.00
   8 W 36th St. floor 7
   New York, NY 10018


20 Kirk Webb                                                              Private loan                                                                      $8,400.00
   1302 S. Friendswood Dr.
   Friendswood, TX 77546
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                            Mohamed Zubair Abdul
                            4620 Monticello Drive
                            Beaumont, TX 77706




                            Alvin Laird d/b/a Alvin Laird
                            Logging
                            375 lafay dr
                            Livingston, TX 77351



                            Byline Bank
                            c/o Stephanie Laird Tolson
                            Hinshaw & Culbertson LLP
                            5151 San Felipe
                            Suite 1380
                            Houston, TX 77056
                            180 N. Lasalle St.
                            Chicago, IL 60601


                            Karthick Chandrasekaran
                            905 ST MARK DRIVE
                            Plano, TX 75094




                            City Wood Products Inc.
                            4620 Monticello Dr
                            Beaumont, TX 77706




                            Corporation Service Company
                            P.O. Box 2576
                            Springfield, IL 62708




                            Diesel Direct
                            16130 Aldine Westfield Rd
                            Houston, TX 77032




                            Division of Workers'
                            Compensation
                            PO Box 12050
                            Austin, TX 78711
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                            Herc Rentals
                            c/o Totz Ellison & Totz ,P.C.
                            Jon D. Totz
                            2211 Norfolk St
                            Houston, TX 77098


                            Houston Hardwood Inc.
                            4910 W 34th St
                            Houston, TX 77092




                            Internal Revenue Service
                            PO Box 7346
                            Philadelphia, PA 19101




                            K.L. Barton & Sons Tie Co.
                            703 S US Highway 59
                            Garrison, TX 75946




                            Kadana USA, Inc.
                            c/o Vik Pawar
                            20 Vesey Street, Suite 1410,
                            New York, New York 10007
                            220 Davidson Ave. Suite 118
                            Somerset, NJ 08873


                            Kalidasan Ramakrishnan
                            17231 Blackhawk Blvd Apt 1310
                            Friendswood, TX 77546




                            Karthick Chandrasekaran
                            905 ST MARK DRIVE
                            Plano, TX 75094




                            Kirk Webb
                            1302 S. Friendswood Dr.
                            Friendswood, TX 77546
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                            Mohamed Zubair Abdul Aleem
                            4620 Monticello Drive
                            Beaumont, TX 77706




                            Mustang Rental Services of
                            Texas LLC
                            c/o Dean G. Pappas Law Firm, PLLC
                            Dean G. Pappas
                            8588 Katy Freeway Suite 100
                            Houston, TX 77024


                            Premier Lumber Company
                            Inc.
                            c/o Lloyd A. Lim
                            711 Louisiana Street
                            Suite 1800 South Tower
                            Houston, TX 77002
                            5925 FM 1003 Suite 400
                            Kountze, TX 77625


                            Prosperum Funding
                            8 W 36th St. floor 7
                            New York, NY 10018




                            Shabana Mohamed Zubair
                            4620 Monticello Dr.
                            Beaumont, TX 77706




                            Spry Holdings Inc.
                            220 Davidson Avenue Suite 118
                            Somerset, NJ 08873




                            Sun Coast Resources, Inc.
                            6405 Cavalcade St
                            Houston, TX 77026




                            Taunton, Snyder & Parish,
                            P.C.
                            c/o Michael G. Cortez
                            777 North Eldridge Pkwy Suite 450
                            Houston, TX 77079
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                            Weighing Technologies, Inc.
                            4250 Milam St.
                            Beaumont, TX 77707




                            Zain Zubair
                            4620 Monticello Drive
                            Beaumont, TX 77706




                            Zain Zubair
                            4620 Monticello Drive
                            Beaumont, TX 77706
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               DECLARATION OF MOHAMED ZUBAIR ABDUL ALEEM
       I, Mohamed Zubair Abdul Aleem, pursuant to 28 U.S.C. § 1746, hereby declares as
follows:
       1.      My name is Mohamed Zubair Abdul Aleem. I am above the age of eighteen years,

and I am fully competent to make this declaration. I am the Operating Manager of Premier Lumber

Company, Inc. (“Premier Lumber”) and TexStar Lumber, Inc. (“TexStar”, and together with

Premier Lumber, the “Debtors”), the debtors-in-possession in the above-captioned cases. The facts

stated in this declaration are within my personal knowledge and are true and correct.

       2.      Premier Lumber and TexStar have not kept recent financial statements, including

balance sheets, income statements, statement of operations, or cash-flow statements. Further, the

time and expense of creating such financial statements would create extremely onerous since no

such bookkeeping has transpired.

       3.      Accordingly, the Debtors are unable to attach their balance sheets, income

statements, statements of operations, or cash-flow statements in compliance with 11 U.S.C.

§ 1116(1)(A), as made applicable to this case under 11 U.S.C. § 1187(a).

       4.      Debtors have filed tax returns for 2021, 2022, and 2023. See Exhibit A (Premier

Lumber’s Tax Returns) and Exhibit B (TexStar’s Tax Returns).



                                   [Signature on Next Page.]
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I declare under penalty of perjury that the foregoing is true and correct.


       Executed on June 30, 2025.


                                              /s/ Mohamed Zubair Abdul Aleem
                                              Mohamed Zubair Abdul Aleem,
                                              Operating Manager of
                                              Premier Lumber Company, Inc. and
                                              TexStar Lumber, Inc.
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                             EXHIBIT A
                 Premier Lumber Company, Inc.
            (Tax Returns for 2021, 2022, and 2023)
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2022 Federal Forms to Print and Mail
Important: Your taxes are not finished until all required steps are completed.



 Premier Lumber Company, Inc.
 1400 Preston Road, Ste 400
 Plano, TX 75093
                  |
 Balance      | No payment is required with your Federal tax return (2022 Form 1120,
 Due/         | U.S. Corporation Income Tax Return).
 Refund       |
              |
______________________________________________________________________________________
                  |
 2022         | No Refund or Amount Due                  $          0.00
 Federal      |
 Tax          |
 Return       |
 Summary      |
              |
______________________________________________________________________________________
                  |
 Forms        |
 Included     |
              |
______________________________________________________________________________________




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                                                                            Case 25-10296                        Doc 1 Filed
                                                                                                                   Premier   06/30/25
                                                                                                                           Lumber       Entered
                                                                                                                                  Company,  Inc.06/30/25 19:07:33                                                                                Desc Main
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                                                                    1120                                                 U.S. Corporation Income Tax Return                                                                                                       OMB No. 1545-0123


                                                                                                                                                                                                                                                                   2022
Form                                                                                          For calendar year 2022 or tax year beginning                                                     , 2022, ending                                 , 20
Department of the Treasury
Internal Revenue Service                                                                                       Go to www.irs.gov/Form1120 for instructions and the latest information.
A Check if:                                                                                               Name                                                                                                                             B Employer identification number
1a Consolidated return
   (attach Form 851)                                                                                      Premier Lumber Company, Inc.                                                                                                     XX-XXXXXXX
                                                                                           TYPE
 b Life/nonlife consoli-                                                                                  Number, street, and room or suite no. If a P.O. box, see instructions.                                                           C Date incorporated
   dated return .    .                                                                     OR
2 Personal holding co.                                                                     PRINT          1400 Preston Road, Ste 400                                                                                                       10/06/2021
   (attach Sch. PH) .                                                                                     City or town, state or province, country, and ZIP or foreign postal code                                                         D Total assets (see instructions)
3 Personal service corp.
  (see instructions) .                                                                                    Plano                                                                                TX 75093                                                       $          951,317
4 Schedule M-3 attached                                                                     E Check if: (1)              Initial return               (2)           Final return                 (3)           Name change                (4)          Address change
                                                                     1a   Gross receipts or sales .              .   .    .    .   .      .   .   .         .   .     .   .   .    .      .      .     .         1a                 477,154
                                                                      b   Returns and allowances . . . . . .                              .   .   .         .   .     .   .   .    .      .      .     .         1b
                                                                      c   Balance. Subtract line 1b from line 1a  .                       .   .   .         .   .     .   .   .    .      .      .     .   .     . .       .    .     .   .     .        1c               477,154
                                                                     2    Cost of goods sold (attach Form 1125-A) .                       .   .   .         .   .     .   .   .    .      .      .     .   .     . .       .    .     .   .     .         2               245,646
                                                                     3    Gross profit. Subtract line 2 from line 1c . .                      .   .         .   .     .   .   .    .      .      .     .   .     .     .   .    .     .   .     .         3               231,508
     Income




                                                                     4    Dividends and inclusions (Schedule C, line 23)                      .   .         .   .     .   .   .    .      .      .     .   .     .     .   .    .     .   .     .         4
                                                                     5    Interest   . . . . . . . . . . .                                    .   .         .   .     .   .   .    .      .      .     .   .     .     .   .    .     .   .     .         5
                                                                     6    Gross rents . . . . . . . . . . . . . .                                                     .   .   .    .      .      .     .   .     .     .   .    .     .   .     .         6
                                                                     7    Gross royalties . . . . . . . . . . . . .                                                   .   .   .    .      .      .     .   .     .     .   .    .     .   .     .         7
                                                                     8    Capital gain net income (attach Schedule D (Form 1120)) .                                   .   .   .    .      .      .     .   .     .     .   .    .     .   .     .         8
                                                                     9    Net gain or (loss) from Form 4797, Part II, line 17 (attach Form 4797)                                   .      .      .     .   .     .     .   .    .     .   .     .         9
                                                                    10    Other income (see instructions—attach statement) . . . . . .                                             .      .      .     .   .     .     .   .    .     .   .     .        10
                                                                    11    Total income. Add lines 3 through 10 . . . . . . . . .                                                   .      .      .     .   .     .     .   .    .     .   .     .        11               231,508
                                                                    12    Compensation of officers (see instructions—attach Form 1125-E)         .                                 .      .      .     .   .     .     .   .    .     .   .     .        12                49,754
     Deductions (See instructions for limitations on deductions.)




                                                                    13    Salaries and wages (less employment credits)                        .   .         .   .     .   .   .    .      .      .     .   .     .     .   .    .     .   .     .        13
                                                                    14    Repairs and maintenance . . . . . .                                 .   .         .   .     .   .   .    .      .      .     .   .     .     .   .    .     .   .     .        14                20,580
                                                                    15    Bad debts . . .             .    .     .   .    .    .   .      .   .   .         .   .     .   .   .    .      .      .     .   .     .     .   .    .     .   .     .        15
                                                                    16    Rents . . . .               .    .     .   .    .    .   .      .   .   .         .   .     .   .   .    .      .      .     .   .     .     .   .    .     .   .     .        16
                                                                    17    Taxes and licenses          .    .     .   .    .    .   .      .   .   .         .   .     .   .   .    .      .      .     .   .     .     .   .    .     .   .     .        17                21,768
                                                                    18    Interest (see instructions) . . . . . . . . . . . . . . . . . . . . . . .                                                                                       .     .        18                23,151
                                                                    19    Charitable contributions . . . . . . . . . . . . . . . . . . . . . . . .                                                                                        .     .        19
                                                                    20    Depreciation from Form 4562 not claimed on Form 1125-A or elsewhere on return (attach Form 4562) .                                                              .     .        20               234,695
                                                                    21    Depletion . . . . . . . .                            .   .      .   .   .         .   .     .   .   .    .      .      .     .   .     .     .   .    .     .   .     .        21
                                                                    22    Advertising    . . . . . . .                         .   .      .   .   .         .   .     .   .   .    .      .      .     .   .     .     .   .    .     .   .     .        22
                                                                    23    Pension, profit-sharing, etc., plans                 .   .      .   .   .         .   .     .   .   .    .      .      .     .   .     .     .   .    .     .   .     .        23
                                                                    24    Employee benefit programs      . .                   .    . . .          . . . . . . . . . . .                                         .     .   .    .     .   .     .        24                 4,092
                                                                    25    Reserved for future use . . . .                      .    . . .          . . . . . . . . . . .                                         .     .   .    .     .   .     .        25
                                                                    26    Other deductions (attach statement)                  .   Other
                                                                                                                                    . . .         Deductions
                                                                                                                                                   . . . . . .Statement
                                                                                                                                                                . . . . .                                        .     .   .    .     .   .     .        26                80,392
                                                                    27    Total deductions. Add lines 12 through 26 . . . . . . . . . . . . . . . . . . . .                                                                                              27               434,432
                                                                    28    Taxable income before net operating loss deduction and special deductions. Subtract line 27 from line 11. .                                                                    28              -202,924
                                                                    29a   Net operating loss deduction (see instructions) . . . . . . . . . . .                 29a           36,000
                                                                      b   Special deductions (Schedule C, line 24) . . . . . . . .                                            .    .      .      .     .        29b
                                                                      c   Add lines 29a and 29b . . . . . . . . . . . . .                                                     .    .      .      .     .   .     . .       .    .     .   .     .        29c               36,000
                                                                    30    Taxable income. Subtract line 29c from line 28. See instructions                                    .    .      .      .     .   .     . .       .    .     .   .     .         30             -238,924
Tax, Refundable Credits, and




                                                                    31    Total tax (Schedule J, Part I, line 11) . . . . . .                                   .     .   .   .    .      .      .     .   .     .     .   .    .     .   .     .        31                     0
                                                                    32    Reserved for future use . . . . . . . . . .                                           .     .   .   .    .      .      .     .   .     .     .   .    .     .   .     .        32
         Payments




                                                                    33    Total payments and credits (Schedule J, Part III, line 23)                            .     .   .   .    .      .      .     .   .     .     .   .    .     .   .     .        33                         0
                                                                    34    Estimated tax penalty. See instructions. Check if Form 2220 is attached      . . . . .                                                       .   .    .     .   .              34
                                                                    35    Amount owed. If line 33 is smaller than the total of lines 31 and 34, enter amount owed                                                      .   .    .     .   .     .        35
                                                                    36    Overpayment. If line 33 is larger than the total of lines 31 and 34, enter amount overpaid                                                   .   .    .     .   .     .        36                         0
                                                                    37    Enter amount from line 36 you want: Credited to 2023 estimated tax                                                                                   Refunded                  37
                                                                          Under penalties of perjury, I declare that I have examined this return, including accompanying schedules and statements, and to the best of my knowledge and belief, it is true, correct,
                                                                          and complete. Declaration of preparer (other than taxpayer) is based on all information of which preparer has any knowledge.
Sign                                                                                                                                                                                                                                                May the IRS discuss this return
                                                                                                                                                                                                                                                    with the preparer shown below?
Here                                                                                                                                                  10/16/2023                       Chief Financial Officer                                      See instructions.     Yes       No
                                                                          Signature of officer                                                         Date                            Title
                                                                              Print/Type preparer’s name                                  Preparer’s signature                                                  Date                                              PTIN
Paid                                                                                                                                                                                                                                       Check      if
                                                                                                                                                                                                                                           self-employed
Preparer
                                                                                                          Self-Prepared
Use Only Firm’s name                                                                                                                                                                                                                Firm’s EIN
                                                                              Firm’s address                                                                                                                                        Phone no.
For Paperwork Reduction Act Notice, see separate instructions. REV 07/14/23 TTBIZ                                                                                                                                                                                  Form 1120 (2022)
BAA
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Form 1120 (2022)                                                                                                                                                       Page 2
 Schedule C           Dividends, Inclusions, and Special Deductions (see                                          (a) Dividends and
                                                                                                                                              (b) %
                                                                                                                                                         (c) Special deductions
                      instructions)                                                                                   inclusions                                (a) × (b)

  1       Dividends from less-than-20%-owned domestic corporations (other than debt-financed
          stock) . . . . . . . . . . . . . . . . . . . . . . . .                                                                              50
  2       Dividends from 20%-or-more-owned domestic corporations (other than debt-financed
          stock) . . . . . . . . . . . . . . . . . . . . . . . .                                                                              65
                                                                                                                                              See
  3       Dividends on certain debt-financed stock of domestic and foreign corporations                   .   .                           instructions


  4       Dividends on certain preferred stock of less-than-20%-owned public utilities                .   .   .                               23.3

  5       Dividends on certain preferred stock of 20%-or-more-owned public utilities .                .   .   .                               26.7

  6       Dividends from less-than-20%-owned foreign corporations and certain FSCs                    .   .   .                               50

  7       Dividends from 20%-or-more-owned foreign corporations and certain FSCs                      .   .   .                               65

  8       Dividends from wholly owned foreign subsidiaries           .   .   .   .   .   .   .    .   .   .   .                               100
                                                                                                                                              See
  9       Subtotal. Add lines 1 through 8. See instructions for limitations .            .   .    .   .   .   .                           instructions

 10       Dividends from domestic corporations received by a small business investment
          company operating under the Small Business Investment Act of 1958 . . . . .                                                         100

 11       Dividends from affiliated group members .          .   .   .   .   .   .   .   .   .    .   .   .   .                               100

 12       Dividends from certain FSCs        .   .   .   .   .   .   .   .   .   .   .   .   .    .   .   .   .                               100
 13       Foreign-source portion of dividends received from a specified 10%-owned foreign
          corporation (excluding hybrid dividends) (see instructions) . . . . . . . . .                                                       100
 14       Dividends from foreign corporations not included on line 3, 6, 7, 8, 11, 12, or 13
          (including any hybrid dividends) . . . . . . . . . . . . . . . . .


 15       Reserved for future use .      .   .   .   .   .   .   .   .   .   .   .   .   .   .    .   .   .   .

 16a      Subpart F inclusions derived from the sale by a controlled foreign corporation (CFC) of
          the stock of a lower-tier foreign corporation treated as a dividend (attach Form(s) 5471)
          (see instructions) . . . . . . . . . . . . . . . . . . . . .                                                                        100
      b   Subpart F inclusions derived from hybrid dividends of tiered corporations (attach Form(s)
          5471) (see instructions) . . . . . . . . . . . . . . . . . . .
    c     Other inclusions from CFCs under subpart F not included on line 16a, 16b, or 17 (attach
          Form(s) 5471) (see instructions) . . . . . . . . . . . . . . . . .

 17       Global Intangible Low-Taxed Income (GILTI) (attach Form(s) 5471 and Form 8992) .                    .


 18       Gross-up for foreign taxes deemed paid         .   .   .   .   .   .   .   .   .   .    .   .   .   .


 19       IC-DISC and former DISC dividends not included on line 1, 2, or 3              .   .    .   .   .   .


 20       Other dividends    .   .   .   .   .   .   .   .   .   .   .   .   .   .   .   .   .    .   .   .   .


 21       Deduction for dividends paid on certain preferred stock of public utilities             .   .   .   .


 22       Section 250 deduction (attach Form 8993)           .   .   .   .   .   .   .   .   .    .   .   .   .
 23       Total dividends and inclusions. Add column (a), lines 9 through 20. Enter here and on
          page 1, line 4 . . . . . . . . . . . . . . . . . . . . . .
 24       Total special deductions. Add column (c), lines 9 through 22. Enter here and on page 1, line 29b .                .   .     .   .    .    .
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Form 1120 (2022)                                                                                                                                                Page 3
 Schedule J           Tax Computation and Payment (see instructions)
Part I—Tax Computation
  1     Check if the corporation is a member of a controlled group (attach Schedule O (Form 1120)). See instructions
  2     Income tax. See instructions . . . . . . . . . . . . . . . . . . . . . . .                                                      .   .   2                    0
  3     Base erosion minimum tax amount (attach Form 8991) .             .   .   .   .   .   .    .   .   .   .   . .       .   .   .   .   .   3
  4     Add lines 2 and 3 . . . . . . . . . . . .                        .   .   .   .   .   .    .   .   .   .   . .       .   .   .   .   .   4                    0
  5a    Foreign tax credit (attach Form 1118) . . . . . .                .   .   .   .   .   .    .   .   .       5a
    b   Credit from Form 8834 (see instructions) . . . .             .   .   .   .   .   .   .    .   .   .       5b
    c   General business credit (attach Form 3800) . . .             .   .   .   .   .   .   .    .   .   .       5c
    d   Credit for prior year minimum tax (attach Form 8827)         .   .   .   .   .   .   .    .   .   .       5d
    e   Bond credits from Form 8912 . . .            .   .   .   .   .   .   .   .   .   .   .    .   .   .       5e
  6     Total credits. Add lines 5a through 5e       .   .   .   .   .   .   .   .   .   .   .    .   .   .   .   . .       .   .   .   .   .   6
  7     Subtract line 6 from line 4 . . . .          .   .   .   .   .   .   .   .   .   .   .    .   .   .   .   . .       .   .   .   .   .   7                    0
  8     Personal holding company tax (attach Schedule PH (Form 1120)) .              .   .   .    .   .   .   .   . .       .   .   .   .   .   8
  9a    Recapture of investment credit (attach Form 4255) . . . . .                  .   .   .    .   .   .       9a
    b   Recapture of low-income housing credit (attach Form 8611) . .                .   .   .    .   .   .       9b
    c   Interest due under the look-back method—completed long-term contracts (attach
        Form 8697) . . . . . . . . . . . . . . . . . . . . . . .                                                  9c
    d   Interest due under the look-back method—income forecast method (attach Form 8866)                         9d
    e   Alternative tax on qualifying shipping activities (attach Form 8902)         .   .   .    .   .   .       9e
    f   Interest/tax due under section 453A(c) and/or section 453(l) . .             .   .   .    .   .   .       9f
    g   Other (see instructions—attach statement)        . Depreciation
                                                             . . . . . .             .   .   .    .   .   .       9g
 10     Total. Add lines 9a through 9g . . . . . . . . . . . .                           .   .    .   .   .   .   .     .   .   .   .   .   .   10
 11     Total tax. Add lines 7, 8, and 10. Enter here and on page 1, line 31 .           .   .    .   .   .   .   .     .   .   .   .   .   .   11                 0
Part II—Reserved For Future Use
 12     Reserved for future use .    .   .   .   .   .   .   .   .   .   .   .   .   .   .   .    .   .   .   .   .     .   .   .   .   .   .   12
Part III—Payments and Refundable Credits
 13     2021 overpayment credited to 2022        .   .   .   .   .   .   .   .   .   .   .   .    .   .   .   .   .     .   .   .   .   .   .   13                 0
 14     2022 estimated tax payments . . .            .   .   .   .   .   .   .   .   .   .   .    .   .   .   .   .     .   .   .   .   .   .   14
 15     2022 refund applied for on Form 4466 .       .   .   .   .   .   .   .   .   .   .   .    .   .   .   .   .     .   .   .   .   .   .   15 (                   )
 16     Combine lines 13, 14, and 15 . . .           .   .   .   .   .   .   .   .   .   .   .    .   .   .   .   .     .   .   .   .   .   .   16                 0
 17     Tax deposited with Form 7004 . . . .             .   .   .   .   .   .   .   .   .   .    .   .   .   .   .     .   .   .   .   .   .   17                 0
 18     Withholding (see instructions) . . . .           .   .   .   .   .   .   .   .   .   .    .   .   .   .   .     .   .   .   .   .   .   18
 19     Total payments. Add lines 16, 17, and 18         .   .   .   .   .   .   .   .   .   .    .   .   .   .   .     .   .   .   .   .   .   19                 0
 20     Refundable credits from:
    a   Form 2439 . . . . .          .   .   .   .   .   .   .   .   .   .   .   .   .   .   .    .   .   .       20a
    b   Form 4136 . . . . .          .   .   .   .   .   .   .   .   .   .   .   .   .   .   .    .   .   .       20b
    c   Reserved for future use . . . . . .              .   .   .   .   .   .   .   .   .   .    .   .   .     20c
    d   Other (attach statement—see instructions)        .   .   .   .   .   .   .   .   .   .    .   .   .     20d
 21     Total credits. Add lines 20a through 20d .       .   .   .   .   .   .   .   .   .   .    .   .   .   . . .         .   .   .   .   .   21
 22     Reserved for future use . . . . . . . . . . . . . . . . . . .                                         .   .     .   .   .   .   .   .   22
 23     Total payments and credits. Add lines 19 and 21. Enter here and on page 1, line 33 .                  .   .     .   .   .   .   .   .   23                 0
                                                                             REV 07/14/23 TTBIZ                                                        Form 1120 (2022)
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Form 1120 (2022)                                                                                                                                                        Page 4
 Schedule K              Other Information (see instructions)
  1       Check accounting method: a          Cash            b       Accrual        c        Other (specify)                                                     Yes     No
  2       See the instructions and enter the:
      a   Business activity code no. 321110
      b   Business activity Manufacturing
      c   Product or service Lumber
  3       Is the corporation a subsidiary in an affiliated group or a parent–subsidiary controlled group?         .   .      .   .   .   .    .   .   .    .
          If “Yes,” enter name and EIN of the parent corporation


  4       At the end of the tax year:

      a   Did any foreign or domestic corporation, partnership (including any entity treated as a partnership), trust, or tax-exempt
          organization own directly 20% or more, or own, directly or indirectly, 50% or more of the total voting power of all classes of the
          corporation’s stock entitled to vote? If “Yes,” complete Part I of Schedule G (Form 1120) (attach Schedule G) . . . . . .
      b   Did any individual or estate own directly 20% or more, or own, directly or indirectly, 50% or more of the total voting power of all
          classes of the corporation’s stock entitled to vote? If “Yes,” complete Part II of Schedule G (Form 1120) (attach Schedule G) .
  5       At the end of the tax year, did the corporation:
      a   Own directly 20% or more, or own, directly or indirectly, 50% or more of the total voting power of all classes of stock entitled to vote of
          any foreign or domestic corporation not included on Form 851, Affiliations Schedule? For rules of constructive ownership, see instructions.
          If “Yes,” complete (i) through (iv) below.
                                                                                             (ii) Employer                (iii) Country of                (iv) Percentage
                               (i) Name of Corporation                                   Identification Number                                            Owned in Voting
                                                                                                  (if any)                 Incorporation                       Stock




      b Own directly an interest of 20% or more, or own, directly or indirectly, an interest of 50% or more in any foreign or domestic partnership
        (including an entity treated as a partnership) or in the beneficial interest of a trust? For rules of constructive ownership, see instructions.
        If “Yes,” complete (i) through (iv) below.
                                                                                             (ii) Employer                (iii) Country of                (iv) Maximum
                                  (i) Name of Entity                                     Identification Number                                        Percentage Owned in
                                                                                                  (if any)                  Organization              Profit, Loss, or Capital




  6       During this tax year, did the corporation pay dividends (other than stock dividends and distributions in exchange for stock) in
          excess of the corporation’s current and accumulated earnings and profits? See sections 301 and 316 . . . . . . . .
          If “Yes,” file Form 5452, Corporate Report of Nondividend Distributions. See the instructions for Form 5452.
          If this is a consolidated return, answer here for the parent corporation and on Form 851 for each subsidiary.
  7       At any time during the tax year, did one foreign person own, directly or indirectly, at least 25% of the total voting power of all
          classes of the corporation’s stock entitled to vote or at least 25% of the total value of all classes of the corporation’s stock? .
          For rules of attribution, see section 318. If “Yes,” enter:
          (a) Percentage owned                           and (b) Owner’s country
          (c) The corporation may have to file Form 5472, Information Return of a 25% Foreign-Owned U.S. Corporation or a Foreign
          Corporation Engaged in a U.S. Trade or Business. Enter the number of Forms 5472 attached
  8       Check this box if the corporation issued publicly offered debt instruments with original issue discount . . . . . . .
          If checked, the corporation may have to file Form 8281, Information Return for Publicly Offered Original Issue Discount Instruments.
  9       Enter the amount of tax-exempt interest received or accrued during the tax year $
 10       Enter the number of shareholders at the end of the tax year (if 100 or fewer)   4
 11       If the corporation has an NOL for the tax year and is electing to forego the carryback period, check here (see instructions)
          If the corporation is filing a consolidated return, the statement required by Regulations section 1.1502-21(b)(3) must be attached
          or the election will not be valid.
 12       Enter the available NOL carryover from prior tax years (do not reduce it by any deduction reported on
          page 1, line 29a.) . . . . . . . . . . . . . . . . . . . . . . . . . $
                                                                                REV 07/14/23 TTBIZ                                                        Form 1120 (2022)
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Form 1120 (2022)                                                                                                                                               Page 5
 Schedule K              Other Information (continued from page 4)
                                                                                                                                                         Yes     No
 13       Are the corporation’s total receipts (page 1, line 1a, plus lines 4 through 10) for the tax year and its total assets at the end of the
          tax year less than $250,000?     . . . . . . . . . . . . . . . . . . . . . . . . . . . . .
          If “Yes,” the corporation is not required to complete Schedules L, M-1, and M-2. Instead, enter the total amount of cash
          distributions and the book value of property distributions (other than cash) made during the tax year $
 14       Is the corporation required to file Schedule UTP (Form 1120), Uncertain Tax Position Statement? See instructions             .   .   .   .
          If “Yes,” complete and attach Schedule UTP.
 15a      Did the corporation make any payments in 2022 that would require it to file Form(s) 1099?        .   .   .   .   .   .   .   .   .   .   .
   b      If “Yes,” did or will the corporation file required Form(s) 1099? . . . . . . . . .              .   .   .   .   .   .   .   .   .   .   .
 16       During this tax year, did the corporation have an 80%-or-more change in ownership, including a change due to redemption of its
          own stock?      . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .
 17       During or subsequent to this tax year, but before the filing of this return, did the corporation dispose of more than 65% (by value)
          of its assets in a taxable, non-taxable, or tax deferred transaction? . . . . . . . . . . . . . . . . . .
 18       Did the corporation receive assets in a section 351 transfer in which any of the transferred assets had a fair market basis or fair
          market value of more than $1 million? . . . . . . . . . . . . . . . . . . . . . . . . . . .
 19       During the corporation’s tax year, did the corporation make any payments that would require it to file Forms 1042 and 1042-S
          under chapter 3 (sections 1441 through 1464) or chapter 4 (sections 1471 through 1474) of the Code? . . . . . . . .
 20       Is the corporation operating on a cooperative basis?. . . . . . . . . . . . . . . . . . . . . . .
 21       During the tax year, did the corporation pay or accrue any interest or royalty for which the deduction is not allowed under section
          267A? See instructions . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .
          If “Yes,” enter the total amount of the disallowed deductions $
 22       Does the corporation have gross receipts of at least $500 million in any of the 3 preceding tax years? (See sections 59A(e)(2)
          and (3)) . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .
          If “Yes,” complete and attach Form 8991.
 23       Did the corporation have an election under section 163(j) for any real property trade or business or any farming business in effect
          during the tax year? See instructions . . . . . . . . . . . . . . . . . . . . . . . . . . .
 24       Does the corporation satisfy one or more of the following? See instructions . . . . . . . . . . . . . . . .
    a     The corporation owns a pass-through entity with current, or prior year carryover, excess business interest expense.
    b     The corporation’s aggregate average annual gross receipts (determined under section 448(c)) for the 3 tax years preceding the
          current tax year are more than $27 million and the corporation has business interest expense.
      c   The corporation is a tax shelter and the corporation has business interest expense.
          If “Yes,” complete and attach Form 8990.
 25       Is the corporation attaching Form 8996 to certify as a Qualified Opportunity Fund? . . . . . . . . . . . . . .
          If “Yes,” enter amount from Form 8996, line 15 . . . . . $

 26       Since December 22, 2017, did a foreign corporation directly or indirectly acquire substantially all of the properties held directly or
          indirectly by the corporation, and was the ownership percentage (by vote or value) for purposes of section 7874 greater than
          50% (for example, the shareholders held more than 50% of the stock of the foreign corporation)? If “Yes,” list the ownership
          percentage by vote and by value. See instructions . . . . . . . . . . . . . . . . . . . . . . .
          Percentage: By Vote                                                   By Value
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Form 1120 (2022)                                                                                                                                                   Page 6
 Schedule L                Balance Sheets per Books                          Beginning of tax year                                      End of tax year
                                    Assets                               (a)                     (b)                              (c)                        (d)
  1       Cash     .   .    .   .   .   .   .   .   .   .   .   .                                                0.                                           22,091.
  2a      Trade notes and accounts receivable .             .   .                0.                                                37,280.
    b     Less allowance for bad debts . . .                .   .   (            0. )                            0. (                  0. )                   37,280.
  3       Inventories . . . . . . . . .                     .   .                                                0.                                                0.
  4       U.S. government obligations      . . .            .   .                                                0.                                                0.
  5       Tax-exempt securities (see instructions)          .   .                                                0.                                                0.
  6       Other current assets (attach statement)           .   .                                                0.                                           78,036.
  7       Loans to shareholders . . . . .                   .   .                                                0.                                                0.
  8       Mortgage and real estate loans . . .              .   .                                                0.                                                0.
  9       Other investments (attach statement) .            .   .                                                0.
 10a      Buildings and other depreciable assets            .   .                0.                                              807,970.
    b     Less accumulated depreciation . . .               .   .   (            0. )                            0. (             7,362. )                  800,608.
 11a      Depletable assets . . . . . . .                   .   .                0.
    b     Less accumulated depletion . . . .                .   .   (            0. )                            0. (                       0. )                     0.
 12       Land (net of any amortization) . . .              .   .                                                0.                                                  0.
 13a      Intangible assets (amortizable only)   .          .   .                0.                                                          0.
    b     Less accumulated amortization . . .               .   .   (            0. )                            0. (                       0. )                  0.
 14       Other assets (attach statement) . . .             .   .                                                0.                                          13,302.
 15       Total assets    . . . . . . . .                   .   .                                                0.                                         951,317.
              Liabilities and Shareholders’ Equity
 16       Accounts payable . . . . . . . . .                                                                                                                 33,448.
 17       Mortgages, notes, bonds payable in less than 1 year                                                    0.                                         102,447.
 18       Other current liabilities (attach statement) . .                                                                                                   21,618.
 19       Loans from shareholders . . . . . . .                                                                  0.
 20       Mortgages, notes, bonds payable in 1 year or more                                                      0.                                         310,887.
 21       Other liabilities (attach statement) . . . .                                                           0.                                          79,338.
 22       Capital stock:     a Preferred stock . . . .                            0.
                             b Common stock . . . .                               0.                             0.                             1.                1.
 23       Additional paid-in capital . . . . . . .                                                                                                          366,934.
 24       Retained earnings—Appropriated (attach statement)
 25       Retained earnings—Unappropriated . . .                                                                 0.                                           36,644.
 26       Adjustments to shareholders’ equity (attach statement)
 27       Less cost of treasury stock . . . . . .                                       (                            )                               (                  )
 28       Total liabilities and shareholders’ equity . .                           0.                                                                       951,317.
Schedule M-1               Reconciliation of Income (Loss) per Books With Income per Return
                           Note: The corporation may be required to file Schedule M-3. See instructions.
  1       Net income (loss) per books .         .   .   .   .   .        36,644.             7      Income recorded on books this year
  2       Federal income tax per books          .   .   .   .   .             0.                    not included on this return (itemize):
  3       Excess of capital losses over capital gains           .             0.                    Tax-exempt interest $
  4       Income subject to tax not recorded on books
          this year (itemize):
           Ln 4 Stmt                                                              0.         8     Deductions on this return not charged
  5       Expenses recorded on books this year not                                                 against book income this year (itemize):
          deducted on this return (itemize):                                                     a Depreciation . . $ 227,333.
      a   Depreciation . . . . $                                                                 b Charitable contributions $
      b   Charitable contributions . $                                                              See Statement
      c   Travel and entertainment . $                                                                                                                      239,568.
                                                                                             9      Add lines 7 and 8 . . . . . .                           239,568.
  6       Add lines 1 through 5 .  . . . . . . .         36,644.                            10      Income (page 1, line 28)—line 6 less line 9            -202,924.
Schedule M-2            Analysis of Unappropriated Retained Earnings per Books (Schedule L, Line 25)
  1       Balance at beginning of year  . . . . .              0. 5 Distributions: a Cash . . . . .
  2       Net income (loss) per books . . . . . .        36,644.                   b Stock  . . . .
  3       Other increases (itemize):                                                                             c Property .       .   .   .
                                                                                             6      Other decreases (itemize):
                                                                                             7      Add lines 5 and 6 . . . . . .
  4       Add lines 1, 2, and 3 .       .   .   .   .   .   .   .        36,644.             8      Balance at end of year (line 4 less line 7)               36,644.
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Form       1125-A                                                      Cost of Goods Sold
(Rev. November 2018)                                                                                                                                              OMB No. 1545-0123
                                                     a Attach to Form 1120, 1120-C, 1120-F, 1120S, or 1065.
Department of the Treasury                          a Go to www.irs.gov/Form1125A for the latest information.
Internal Revenue Service
Name                                                                                                                                                 Employer identification number
Premier Lumber Company, Inc.                                                                                                                         XX-XXXXXXX
   1       Inventory at beginning of year   .   .     .   .    .   .   .   .   .   .   .   .   .   .   .   .   .   .   .   .     .           1                               0
   2       Purchases . . . . . .            .   .     .   .    .   .   .   .   .   .   .   .   .   .   .   .   .   .   .   .     .           2                         102,613
   3       Cost of labor . . . . . . . . . . . . . .                               .   .   .   .   .   .   .   .   .   .   .     .           3                         117,792
   4       Additional section 263A costs (attach schedule) . . . .                 .   .   .   .   .   .   .   .   .   .   .     .           4
   5       Other costs (attach schedule) . . . . Shipping
                                                        . . . . .                  .   .   .   .   .   .   .   .   .   .   .     .           5                          25,241
   6       Total. Add lines 1 through 5 .   .   .     .   .    .   .   .   .   .   .   .   .   .   .   .   .   .   .   .   .     .           6                         245,646
   7       Inventory at end of year . .     .   .     .   .    .   .   .   .   .   .   .   .   .   .   .   .   .   .   .   .     .           7                               0
   8       Cost of goods sold. Subtract line 7 from line 6. Enter here and on Form 1120, page 1, line 2 or the
           appropriate line of your tax return. See instructions . . . . . . . . . . . . . . .                                               8                         245,646
   9a      Check all methods used for valuing closing inventory:
            (i)  Cost
            (ii)  Lower of cost or market
           (iii)  Other (Specify method used and attach explanation.) a
    b      Check if there was a writedown of subnormal goods    . . .                  .   .   .   .   .   .   .   .   .   .     .   .   .       .   .   .   .     .    .    a

    c      Check if the LIFO inventory method was adopted this tax year for any goods (if checked, attach Form 970)                              .   .   .   .     .    .    a

    d      If the LIFO inventory method was used for this tax year, enter amount of closing inventory computed
           under LIFO . . . . . . . . . . . . . . . . . . . . . . . . . . .                                              9d
    e      If property is produced or acquired for resale, do the rules of section 263A apply to the entity? See instructions .                          .             Yes       No
       f   Was there any change in determining quantities, cost, or valuations between opening and closing inventory? If “Yes,”
           attach explanation  . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                                                                               Yes       No


Section references are to the Internal                        merchandise is an income-producing                                  Small business taxpayer. A small
Revenue Code unless otherwise noted.                          factor. See Regulations section 1.471-1. If                      business taxpayer is a taxpayer that (a) has
                                                              inventories are required, you generally                          average annual gross receipts of $25
What's New                                                    must use an accrual method of accounting                         million or less (indexed for inflation) for the
Small business taxpayers. For tax years                       for sales and purchases of inventory items.                      3 prior tax years, and (b) is not a tax shelter
beginning after December 31, 2017, the                        Exception for certain taxpayers. A small                         (as defined in section 448(d)(3)). See Pub.
following apply.                                              business taxpayer (defined below), can                           538.
• A small business taxpayer (defined                          adopt or change its accounting method to                         Uniform capitalization rules. The uniform
below), may use a method of accounting for                    account for inventories in the same manner                       capitalization rules of section 263A
inventories that either: (1) treats inventories               as material and supplies that are non-                           generally require you to capitalize, or
as nonincidental materials and supplies, or                   incidental, or conform to its treatment of                       include in inventory, certain costs incurred
(2) conforms to the taxpayer's financial                      inventories in an applicable financial                           in connection with the following.
accounting treatment of inventories.                          statement (as defined in section 451(b)(3)),                     • The production of real property and
• A small business taxpayer is not required                   or if it does not have an applicable financial                   tangible personal property held in inventory
to capitalize costs under section 263A.                       statement, the method of accounting used                         or held for sale in the ordinary course of
                                                              in its books and records prepared in                             business.
General Instructions                                          accordance with its accounting
                                                                                                                               • Real property or personal property
                                                              procedures. See section 471(c)(3).
Purpose of Form                                                                                                                (tangible and intangible) acquired for resale.
                                                                 A small business taxpayer claiming
Use Form 1125-A to calculate and deduct                                                                                        • The production of real property and
                                                              exemption from the requirement to keep
cost of goods sold for certain entities.                                                                                       tangible personal property for use in its
                                                              inventories is changing its method of
                                                                                                                               trade or business or in an activity engaged
Who Must File                                                 accounting for purposes of section 481.
                                                                                                                               in for profit.
                                                              For additional guidance on this method of
Filers of Form 1120, 1120-C, 1120-F,                          accounting, see Pub. 538, Accounting                                A small business taxpayer (defined
1120S, or 1065, must complete and attach                      Periods and Methods. For guidance on                             above) is not required to capitalize costs
Form 1125-A if the applicable entity reports                  changing to this method of accounting, see                       under section 263A. See section 263A(i).
a deduction for cost of goods sold.                           Form 3115 and the Instructions for Form                             See the discussion on section 263A
Inventories                                                   3115.                                                            uniform capitalization rules in the
                                                                                                                               instructions for your tax return before
Generally, inventories are required at the                                                                                     completing Form 1125-A. Also see
beginning and end of each tax year if the                                                                                      Regulations sections 1.263A-1 through
production, purchase, or sale of                                                                                               1.263A-3. See Regulations section
                                                                                                                               1.263A-4 for rules for property produced in
                                                                                                                               a farming business.




For Paperwork Reduction Act Notice, see instructions. BAA                                                                       REV 07/14/23 TTBIZ Form          1125-A (Rev. 11-2018)
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SCHEDULE G                                    Information on Certain Persons Owning the
(Form 1120)
(Rev. December 2011)
                                                      Corporation’s Voting Stock                                                                                OMB No. 1545-0123
                                                                               a Attach to Form 1120.
Department of the Treasury
Internal Revenue Service                                                 a See instructions on page 2.
Name                                                                                                                                 Employer identification number (EIN)


Premier Lumber Company, Inc.                                                        XX-XXXXXXX
 Part I Certain Entities Owning the Corporation’s Voting Stock. (Form 1120, Schedule K, Question 4a). Complete
        columns (i) through (v) below for any foreign or domestic corporation, partnership (including any entity treated
        as a partnership), trust, or tax-exempt organization that owns directly 20% or more, or owns, directly or
        indirectly, 50% or more of the total voting power of all classes of the corporation’s stock entitled to vote (see
        instructions).
                                                (ii) Employer Identification
             (i) Name of Entity                                                   (iii) Type of Entity           (iv) Country of Organization     (v) Percentage Owned in Voting Stock
                                                       Number (if any)




 Part II       Certain Individuals and Estates Owning the Corporation’s Voting Stock. (Form 1120, Schedule K,
               Question 4b). Complete columns (i) through (iv) below for any individual or estate that owns directly 20% or
               more, or owns, directly or indirectly, 50% or more of the total voting power of all classes of the corporation’s
               stock entitled to vote (see instructions).
                                                                                                         (ii) Identifying Number      (iii) Country of       (iv) Percentage Owned
                                  (i) Name of Individual or Estate                                                                   Citizenship (see
                                                                                                                   (if any)            instructions)              in Voting Stock


Karthick Chandrasekaran                                                                             XXX-XX-XXXX                    US                                                51




For Paperwork Reduction Act Notice,                                               REV 07/14/23 TTBIZ                                            Schedule G (Form 1120) (Rev. 12-2011)
see the Instructions for Form 1120. BAA
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Form   8453-CORP                                      E-file Declaration for Corporations
(December 2022)                           File electronically with Form 1120, 1120-F, or 1120-S. Do not file paper copies.
                                                                                                                                                                          OMB No. 1545-0123
                                                   Go to www.irs.gov/Form8453CORP for the latest information.
Department of the Treasury
Internal Revenue Service       For calendar year 20 22 , or tax year beginning                            , 20           , ending                            , 20
Name of corporation                                                                                                                                            Employer identification number
Premier Lumber Company, Inc.                                                                                                                                   XX-XXXXXXX
 Part I Information (Whole dollars only)
   1     Total income (Form 1120, line 11) .               .   .   .   .   .   .   .      .   .   .   .   .      .   .     .   .      .    .   .     .   .           1             231,508.
   2     Total income (Form 1120-F, Section II, line 11)                   .   .   .      .   .   .   .   .      .   .     .   .      .    .   .     .   .           2
   3     Total income (loss) (Form 1120-S, line 6)                 .   .   .   .   .      .   .   .   .   .      .   .     .   .      .    .   .     .   .           3
 Part II      Declaration of Officer (see instructions) Be sure to keep a copy of the corporation’s tax return.
  A           I consent that the corporation’s refund be directly deposited as designated on the Form 8050, Direct Deposit of
              Corporate Tax Refund, or Form 8302, Electronic Deposit of Tax Refund of $1 Million or More, that will be electronically
              transmitted with the corporation’s federal income tax return.
  B           I do not want direct deposit of the corporation’s refund or the corporation is not receiving a refund.
  C           I authorize the U.S. Treasury and its designated Financial Agent to initiate an electronic funds withdrawal (direct debit)
              entry to the financial institution account indicated in the tax preparation software for payment of the corporation’s federal
              taxes owed on this return, and the financial institution to debit the entry to this account. To revoke a payment, I must
              contact the U.S. Treasury Financial Agent at 1-888-353-4537 no later than 2 business days prior to the payment
              (settlement) date. I also authorize the financial institutions involved in the processing of the electronic payment of taxes to
              receive confidential information necessary to answer inquiries and resolve issues related to the payment.
   If the corporation is filing a balance due return, I understand that if the IRS does not receive full and timely payment of its tax
liability, the corporation will remain liable for the tax liability and all applicable interest and penalties.

Under penalties of perjury, I declare that I am an officer of the above corporation and that the information I have given my electronic return originator (ERO), transmitter,
and/or intermediate service provider (ISP) and the amounts in Part I above agree with the amounts on the corresponding lines of the corporation’s federal income tax return.
To the best of my knowledge and belief, the corporation’s return is true, correct, and complete. I consent to my ERO, transmitter, and/or ISP sending the corporation’s
return, this declaration, and accompanying schedules and statements to the IRS. I also consent to the IRS sending my ERO, transmitter, and/or ISP an acknowledgment of
receipt of transmission and an indication of whether or not the corporation’s return is accepted, and, if rejected, the reason(s) for the rejection. If the processing of the
corporation’s return or refund is delayed, I authorize the IRS to disclose to my ERO, transmitter, and/or ISP the reason(s) for the delay, or when the refund was sent.


Sign
                                                                                       10/16/2023                          Chief Financial Officer
Here          Signature of officer                                                     Date                                Title
Part III      Declaration of Electronic Return Originator (ERO) and Paid Preparer (see instructions)
I declare that I have reviewed the above corporation’s return and that the entries on Form 8453-CORP are complete and correct to the best of my knowledge. If I am only a
collector, I am not responsible for reviewing the return and only declare that this form accurately reflects the data on the return. The corporate officer will have signed this
form before I submit the return. I will give the officer a copy of all forms and information to be filed with the IRS, and have followed all other requirements in Pub. 3112, IRS
e-file Application and Participation, and Pub. 4163, Modernized e-File (MeF) Information for Authorized IRS e-file Providers for Business Returns. If I am also the Paid
Preparer, under penalties of perjury, I declare that I have examined the above corporation’s return and accompanying schedules and statements, and to the best of my
knowledge and belief, they are true, correct, and complete. This Paid Preparer declaration is based on all information of which I have any knowledge.

                  ERO’s signature                                                  Date                   Check if also                                              ERO’s SSN or PTIN
                                                                                                                                          Check if
ERO’s                                                                                                     paid preparer                   self-employed

Use Only Firm’s  name (or yours
         if self-employed),
                                                                                                                                                         EIN
                  address, and ZIP code                                                                                                                  Phone no.
Under penalties of perjury, I declare that I have examined the above corporation’s return and accompanying schedules and statements, and to the best of my knowledge
and belief, they are true, correct, and complete. This declaration is based on all information of which I have any knowledge.
                  Print/Type preparer’s name                        Preparer’s signature                                       Date                      Check       if     PTIN
Paid                                                                                                                                                     self-employed
Preparer
         Firm’s name                                                                                                                               Firm’s EIN
Use Only Firm’s address                                                                                                                            Phone no.
For Privacy Act and Paperwork Reduction Act Notice, see instructions. BAA                                                             REV 07/14/23 TTBIZ            Form 8453-CORP (12-2022)
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       4562                                                Depreciation and Amortization                                                                 OMB No. 1545-0172


                                                                                                                                                          2022
Form
                                                         (Including Information on Listed Property)
Department of the Treasury                                         Attach to your tax return.
                                                                                                                                                         Attachment
Internal Revenue Service                     Go to www.irs.gov/Form4562 for instructions and the latest information.                                     Sequence No. 179
Name(s) shown on return                                                    Business or activity to which this form relates                          Identifying number
Premier Lumber Company, Inc.                    Form 1120 Manufacturing                                                                             XX-XXXXXXX
 Part I Election To Expense Certain Property Under Section 179
        Note: If you have any listed property, complete Part V before you complete Part I.
  1    Maximum amount (see instructions) . . . . . . . . . . . . . . . . . . . . . . .                                                               1      1,080,000.
  2    Total cost of section 179 property placed in service (see instructions)       . . . . . . . . . . .                                           2
  3    Threshold cost of section 179 property before reduction in limitation (see instructions) . . . . . .                                          3      2,700,000.
  4    Reduction in limitation. Subtract line 3 from line 2. If zero or less, enter -0- . . . . . . . . . .                                          4
  5    Dollar limitation for tax year. Subtract line 4 from line 1. If zero or less, enter -0-. If married filing
       separately, see instructions . . . . . . . . . . . . . . . . . . . . . . . . .                                                                5
  6                       (a) Description of property                                (b) Cost (business use only)              (c) Elected cost




  7 Listed property. Enter the amount from line 29 . . . . . . . . .                  7
  8 Total elected cost of section 179 property. Add amounts in column (c), lines 6 and 7           . . . . . .                                      8
  9 Tentative deduction. Enter the smaller of line 5 or line 8 . . . . . . . . . . . . . . . .                                                      9
 10 Carryover of disallowed deduction from line 13 of your 2021 Form 4562 . . . . . . . . . . .                                                     10
 11 Business income limitation. Enter the smaller of business income (not less than zero) or line 5. See instructions                               11
 12 Section 179 expense deduction. Add lines 9 and 10, but don’t enter more than line 11 . . . . . .                                                12
 13 Carryover of disallowed deduction to 2023. Add lines 9 and 10, less line 12        .       13
Note: Don’t use Part II or Part III below for listed property. Instead, use Part V.
 Part II      Special Depreciation Allowance and Other Depreciation (Don’t include listed property. See instructions.)
 14 Special depreciation allowance for qualified property (other than listed property) placed in service
    during the tax year. See instructions . . . . . . . . . . . . . . . . . . . . . . .                                                             14          234,695.
 15 Property subject to section 168(f)(1) election . . . . . . . . . . . . . . . . . . . .                                                          15
 16 Other depreciation (including ACRS) . . . . . . . . . . . . . . . . . . . . . .                                                                 16
Part III      MACRS Depreciation (Don’t include listed property. See instructions.)
                                                            Section A
 17 MACRS deductions for assets placed in service in tax years beginning before 2022 . . . . . . .                                                  17
 18 If you are electing to group any assets placed in service during the tax year into one or more general
    asset accounts, check here . . . . . . . . . . . . . . . . . . . . . . .
                   Section B—Assets Placed in Service During 2022 Tax Year Using the General Depreciation System
                                   (b) Month and year   (c) Basis for depreciation
                                                                                     (d) Recovery
  (a) Classification of property        placed in        (business/investment use                     (e) Convention            (f) Method          (g) Depreciation deduction
                                                                                         period
                                         service          only—see instructions)
 19a 3-year property
   b 5-year property
   c 7-year property
   d 10-year property
   e 15-year property
   f 20-year property
   g 25-year property                                     25 yrs.                         S/L
   h Residential rental                                  27.5 yrs.      MM                S/L
      property                                           27.5 yrs.      MM                S/L
    i Nonresidential real                                 39 yrs.       MM                S/L
      property                                                          MM                S/L
             Section C—Assets Placed in Service During 2022 Tax Year Using the Alternative Depreciation System
 20a Class life                                                                           S/L
   b 12-year                                              12 yrs.                         S/L
   c 30-year                                              30 yrs.       MM                S/L
   d 40-year                                              40 yrs.       MM                S/L
Part IV       Summary (See instructions.)
 21 Listed property. Enter amount from line 28 . . . . . . . . . . . . . . . . . . . .                                                              21
 22 Total. Add amounts from line 12, lines 14 through 17, lines 19 and 20 in column (g), and line 21. Enter
    here and on the appropriate lines of your return. Partnerships and S corporations—see instructions .                                            22          234,695.
 23 For assets shown above and placed in service during the current year, enter the
    portion of the basis attributable to section 263A costs . . . . . . . . .          23
For Paperwork Reduction Act Notice, see separate instructions.                                                      REV 07/14/23 TTBIZ                      Form 4562 (2022)
                                                                                                      BAA
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Form 4562 (2022)                                                                                                                                                                Page 2
 Part V      Listed Property (Include automobiles, certain other vehicles, certain aircraft, and property used for
             entertainment, recreation, or amusement.)
          Note: For any vehicle for which you are using the standard mileage rate or deducting lease expense, complete only 24a,
          24b, columns (a) through (c) of Section A, all of Section B, and Section C if applicable.
       Section A—Depreciation and Other Information (Caution: See the instructions for limits for passenger automobiles.)
 24a Do you have evidence to support the business/investment use claimed? Yes No     24b If “Yes,” is the evidence written? Yes No
                                          (c)                                       (e)
          (a)                (b)                                                                      (f)             (g)                     (h)                       (i)
                                       Business/           (d)            Basis for depreciation
 Type of property (list Date placed                                                                Recovery         Method/               Depreciation         Elected section 179
                                    investment use Cost or other basis    (business/investment
    vehicles first)      in service                                                                 period         Convention              deduction                  cost
                                      percentage                                 use only)
 25 Special depreciation allowance for qualified listed property placed in service during
      the tax year and used more than 50% in a qualified business use. See instructions .            25
 26 Property used more than 50% in a qualified business use:
                                       %
                                       %
                                       %
 27 Property used 50% or less in a qualified business use:
                                       %                                                     S/L –
                                       %                                                     S/L –
                                       %                                                     S/L –
 28 Add amounts in column (h), lines 25 through 27. Enter here and on line 21, page 1 .              28
 29 Add amounts in column (i), line 26. Enter here and on line 7, page 1 . . . . . . . . . . . .                          29
                                                Section B—Information on Use of Vehicles
Complete this section for vehicles used by a sole proprietor, partner, or other “more than 5% owner,” or related person. If you provided vehicles
to your employees, first answer the questions in Section C to see if you meet an exception to completing this section for those vehicles.
                                                                    (a)                 (b)              (c)                    (d)                  (e)                  (f)
                                                    Vehicle 1    Vehicle 2   Vehicle 3       Vehicle 4     Vehicle 5   Vehicle 6
 30 Total business/investment miles driven during
    the year (don’t include commuting miles) .
 31 Total commuting miles driven during the year
 32 Total other personal (noncommuting)
    miles driven      . . . . . . . . .
 33 Total miles driven during the year. Add
    lines 30 through 32 . . . . . . .
 34 Was the vehicle available for personal         Yes     No Yes       No  Yes     No     Yes      No   Yes      No Yes      No
    use during off-duty hours? . . . . .
 35 Was the vehicle used primarily by a more
    than 5% owner or related person? . .
 36 Is another vehicle available for personal use?
                      Section C—Questions for Employers Who Provide Vehicles for Use by Their Employees
Answer these questions to determine if you meet an exception to completing Section B for vehicles used by employees who aren’t
more than 5% owners or related persons. See instructions.
 37 Do you maintain a written policy statement that prohibits all personal use of vehicles, including commuting, by                                                 Yes         No
    your employees? . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .
 38 Do you maintain a written policy statement that prohibits personal use of vehicles, except commuting, by your
    employees? See the instructions for vehicles used by corporate officers, directors, or 1% or more owners . .
 39 Do you treat all use of vehicles by employees as personal use?     . . . . . . . . . . . . . . . .
 40 Do you provide more than five vehicles to your employees, obtain information from your employees about the
    use of the vehicles, and retain the information received? . . . . . . . . . . . . . . . . . . .
 41 Do you meet the requirements concerning qualified automobile demonstration use? See instructions . . . .
    Note: If your answer to 37, 38, 39, 40, or 41 is “Yes,” don’t complete Section B for the covered vehicles.
Part VI      Amortization
                                                                                                                                      (e)
                                                      (b)
                     (a)                                                          (c)                       (d)                   Amortization                      (f)
                                               Date amortization
            Description of costs                                          Amortizable amount            Code section               period or             Amortization for this year
                                                    begins
                                                                                                                                  percentage
 42 Amortization of costs that begins during your 2022 tax year (see instructions):



 43 Amortization of costs that began before your 2022 tax year . . . . . .                               .     .    .   .   .    .    .        43
 44 Total. Add amounts in column (f). See the instructions for where to report .                         .     .    .   .   .    .    .        44
                                                                                  REV 07/14/23 TTBIZ                                                             Form 4562 (2022)
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Form 4562                              Depreciation and Amortization Report                                                  2022
                                                           Tax Year 2022
                                                         G Keep for your records                                   Page 1 of 1

Name as Shown on Return                                                                                       Identifying Number
Premier Lumber Company, Inc.                                                                                 XX-XXXXXXX

QuickZoom here to enter assets
QuickZoom here to set MACRS convention for assets acquired in 2022
Activity: Form 1120 - Line 20
                              Date      Cost    Land      Bus    Section   Special    Depreciable       Method/      Prior       Current
    Asset Description Code In Service (Net of            Use %    179    Depreciation   Basis     Life Convention Depreciation Depreciation
                        *              Land)                              Allowance
DEPRECIATION
 Passenger VAn              01/22/22     130,195              100.00           130,195            05.00 200DB/HY                          0
 Sawmill Equipment          04/01/22     104,500              100.00           104,500            07.00 200DB/HY                          0
  SUBTOTAL CURRENT YEAR                  234,695          0               0    234,695            0                           0           0

   TOTALS                                234,695          0               0    234,695            0                           0           0




* Code: S = Sold, A = Auto, L = Listed, V = Vine with SDA in Year Planted/Grafted, C = COGS
fdiv3601.SCR 12/16/20
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                                                        Corporation
     Form 1120                                          Tax History                                                   2022
                                                       G Keep for your records

Name as Shown on Return                                                                 Employer Identification No.
Premier Lumber Company, Inc.                                                            XX-XXXXXXX


                                 2017           2018              2019           2020             2021                 2022

 1     Gross receipts                                                                                                  477,154.
 2     Cost of sales                                                                                                   245,646.
 3     Gross profit                                                                                                    231,508.
 4     Net capital gain
 5     Other income
 6     Total income                                                                                                    231,508.
 7     Salaries
 8     Depreciation                                                                                                    234,695.
 9     Other
       deductions                                                                                                      235,737.
10     Total deductions                                                                                                470,432.
11     Taxable income                                                                                                 -238,924.
12     Income tax                                                                                                            0.
13     AMT/BEMT
       minimum tax
14     General
       business credits
15     Other credits
16     PHC tax
17     Recapture taxes
18     Tax liability                                                                                                          0.


Other Information

19 Tax return                    2017           2018              2019           2020            2021                  2022
   preparation fee



cpcw7501.SCR 08/30/22
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                      Special Depreciation Allowance Elections under
                      IRC Section 168(k)(5) and IRC Section 168(k)(7),
                                       GAttach to your income tax return

Name(s) Shown on Return                                                         Identification Number
Premier Lumber Company, Inc.                                                    XX-XXXXXXX

Tax Year:        December 31, 2022


                       Special Depreciation Allowance Election under
                                   IRC Section 168(k)(5)

       Taxpayer hereby elects the application of IRS Section 168(k)(5 )to the
       following specified plant(s) for tax year ending:

       Description of Property                                                       Special Depr.
                                                                                      Allowance




                  Election Out of Qualified Economic Stimulus Property
                                         Attach to your return
       Taxpayer hereby elects under IRC Section 168(k)(7) out of having Qualified
       Economic Stimulus property for the following asset classes placed in service during
       the tax year ending:                                             December 31, 2022

      7 Year Property
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  Form 1120, Line 29a               Net Operating Loss Worksheet              2022


Name                                                                                   Employer Identification Number
Premier Lumber Company, Inc.                                                          XX-XXXXXXX

                                             Important Information
                                          Tax Cuts and Jobs Act (TCJA)

  For taxable years ending after December 31, 2017, Net Operating Loss (NOL) rules for carrybacks and
  carryforwards have changed under the Tax Cuts and Jobs Act (TCJA). Except for certain farming and
  insurance company (other than life insurance) losses, NOLs can no longer be carried back. NOLs can
  now be carried forward indefinitely.



                          NOLs under Tax Cuts and Jobs Act of 2017 Smart Worksheet

   A Is the Net Operating Loss from certain farming losses?                                  Yes          No
   B If "Yes" to line A, is the business electing out of the two year carryback?             Yes          No
     QuickZoom to Election Statement
     QuickZoom to Form 1139

  NOL’s under Tax Cuts and Jobs Act of 2017 : Carryover indefinitely

                         NOL                                       A                   B                   C
                       Carryover                               Carryover              Less             Adjusted
                         Year                                                      Carrybacks          Carryover

2021
2020
2019
2018
Totals
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   NOL’s under Taxpayer Relief Act of 1997 : Two year carryback, twenty year carryover

                           NOL                                   A              B                 C
                         Carryover                           Carryover        Less            Adjusted
                           Year                                            Carrybacks/        Carryover
                                                                           Carryovers

2017
2016
2015
2014
2013
2012
2011
2010
2009
2008
2007
2006
2005
2004
2003
2002
Totals


   NOL’s prior to Taxpayer Relief Act of 1997: Three year carryback, fifteen year carryover

                           NOL                                   A              B                 C
                         Carryover                           Carryover        Less            Adjusted
                           Year                                            Carrybacks/        Carryover
                                                                           Carryovers

2011
2010
2009
2008
2007
Totals

 Premier Lumber Company, Inc.                                                   XX-XXXXXXX
                                     Net Operating Loss Summary
 NOL             A                B               C                D             E                F
 C/O           NOL            Deduction       Adjustment       Remaining     Remaining        Remaining
 Year        Carryover        Allowed in     Under Section     Carryover     Carryover        Carryover
             Available       Current Year      172(b)(2)        20 Years     Indefinite       15 Years*

2021
2020
2019
2018
2017
2016
2015
2014
2013
2012
2011
2010
2009
2008
2007
2006
2005
2004
2003
2002
Totals

Less: Carryover expiring due to 20-year limitation
Less: Carryover expiring due to 15-year limitation
Add: Current year net operating loss                                                           202,924.
Less: Carryback of current year net operating loss
Net operating loss carryover to next year                                                      202,924.
cpcw7601.SCR 09/02/22
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     Form 1120                 Carryovers/Carryforwards Worksheet                   2022
                                             G Keep for your records

Name as Shown on Return                                                          Employer ID No.
Premier Lumber Company, Inc.                                                     XX-XXXXXXX

                                                                         To             To
                                                                       Current         Next
                                                                        Year           Year

Form 1120:
  Contributions carryover
  Net Operating Loss carryover                                                        202,924.

Schedule D (Form 1120):
  Unused capital loss carryover
  Less current year capital loss carried back
  Carryover expiring next year due to 5 year limitation
  Capital loss carryover to next year

Form 2220:
  Tax

Form 4562:
  Section 179 carryover

Form 4797:
  Nonrecaptured net Section 1231 losses ' 2017
  Nonrecaptured net Section 1231 losses ' 2018
  Nonrecaptured net Section 1231 losses ' 2019
  Nonrecaptured net Section 1231 losses ' 2020
  Nonrecaptured net Section 1231 losses ' 2021
  Nonrecaptured net Section 1231 losses ' 2022
   Total nonrecaptured net Section 1231 loss carryforwards

Form 8827:
  Minimum tax credit carryforward

Form 3800:
  General business credit carryforward



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   Form 4562                                                      Depreciation and Amortization Report                                                                                        2022
                                                                                    Tax Year 2022
                                                                                  G Keep for your records
Premier Lumber Company, Inc.
Form 1120 - All Assets                                                                                                                                                       XX-XXXXXXX
       Asset Description       * Code      Date           Cost       Land        Bus       Section      Special      Depreciable             Method/        Prior         Current      Accumulated
                                        In Service      (Net of                 Use %       179       Depreciation     Basis         Life   Convention   Depreciation   Depreciation   Depreciation
                                                         Land)                                         Allowance                                                                            **
 DEPRECIATION
 Main Activity
  Passenger VAn                         01/22/22       130,195                  100.00                   130,195                 0   5.00   200DB/HY                               0      130,195
  Sawmill Equipment                     04/01/22       104,500                  100.00                   104,500                 0   7.00   200DB/HY                               0      104,500

     TOTALS                                            234,695              0                     0      234,695                 0                                 0               0      234,695




* Code: S = Sold, A = Auto, L = Listed V = Vine with SDA in Year Planted/Grafted, C = COGS
** Accumulated Depreciation includes Section 179, Special Depreciation Allowance, Prior Depreciation and Current Depreciation.
Note: Accumulated Depreciation for prior year assets is computed only if Prior Depreciation is available



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   Form 4562                                                      Depreciation and Amortization Report                                                                                        2022
                                                                            Tax Year 2023 - Projected
                                                                                G Keep for your records
Premier Lumber Company, Inc.
Form 1120 - All Assets                                                                                                                                                       XX-XXXXXXX
       Asset Description       * Code      Date           Cost       Land        Bus       Section      Special      Depreciable             Method/        Prior         Current      Accumulated
                                        In Service      (Net of                 Use %       179       Depreciation     Basis         Life   Convention   Depreciation   Depreciation   Depreciation
                                                         Land)                                         Allowance                                                                            **
 DEPRECIATION
 Main Activity
  Passenger VAn                         01/22/22       130,195                  100.00                   130,195                 0   5.00   200DB/HY               0               0      130,195
  Sawmill Equipment                     04/01/22       104,500                  100.00                   104,500                 0   7.00   200DB/HY               0               0      104,500

     TOTALS                                            234,695              0                     0      234,695                 0                                 0               0      234,695




* Code: S = Sold, A = Auto, L = Listed, C = COGS
** Accumulated Depreciation includes Section 179, Special Depreciation Allowance, Prior Depreciation and Current Depreciation.
Note: Accumulated Depreciation for prior year assets is computed only if Prior Depreciation is available



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    Form 1120              Accumulated Depreciation, Amortization           2022
    Schedule L                   and Depletion Worksheet
                                            G Keep for your records

Name as Shown on Return                                                    Identification Number
Premier Lumber Company, Inc.                                               XX-XXXXXXX

Book Accumulated Depreciation, Amortization and Depletion

                                                                                    Depreciation

Beginning balance (From Schedule L, column a, line 10b)                                         0.
Current book expense                                                                        7,362.
Less accumulated - assets sold
Less accumulated - assets retired
Ending balance (To Schedule L, column c, line 10b)                                          7,362.
Check to enter on Balance Sheet              X Yes         No

                                                                                    Amortization

Beginning balance (From Schedule L, column a, line 13b)                                            0.
Current book expense
Less accumulated - assets sold
Less accumulated - assets retired
Ending balance (To Schedule L, column c, line 13b)                                                 0.
Check to enter on Balance Sheet              X Yes         No

                                                                                      Depletion

Beginning balance (From Schedule L, column a, line 11b)                                            0.
Current book expense
Less accumulated - assets sold
Less accumulated - assets retired
Ending balance (To Schedule L, column c, line 11b)                                                 0.
Check to enter on Balance Sheet              X Yes         No

                                 Total Depreciation, Amortization,
                                       and Land Worksheet
                                                                                    Depreciation

Beginning balance building/other assets
Less assets sold
Less assets retired
Plus new assets                                                                          234,695.
Adjustments to ending buildings and other depreciable assets
Ending balance building/other assets (To Schedule L, column c, line 10a)                 234,695.
Check to enter on Balance Sheet              X Yes         No


                                                                                        Land

Beginning balance land assets                                                                      0.
Less land assets sold
Less land assets retired
Plus new land assets
Adjustments to ending land assets
Ending balance (To Schedule L, column d, line 12)                                                  0.
Check to enter on Balance Sheet              X Yes         No


                                                                                    Amortization

Beginning balance intangible assets                                                                0.
Less amortized assets sold
Less amortized assets retired
Plus new amortized assets
Adjustments to amortized assets
Ending balance (To Schedule L, column c, line 13a)                                                 0.
Check to enter on Balance Sheet              X Yes         No
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Premier Lumber Company, Inc.                                                XX-XXXXXXX                1



Additional Information From 2022 Federal Corporation Tax Return

Form 1120: US Corporation Income Tax Return
Other Deductions                                                             Continuation Statement
                                       Description                                       Amount
Bank charges                                                                                      1,654
Equipment rent                                                                                   19,208
Insurance                                                                                         8,225
Legal and professional                                                                              654
Miscellaneous                                                                                     4,912
Office expense                                                                                    2,065
Supplies                                                                                         29,578
Telephone                                                                                         1,238
Travel                                                                                            3,249
Utilities                                                                                         9,609
                                                                            Total                80,392

Form 1120: US Corporation Income Tax Return
Schedule M-1, Line 4                                                         Continuation Statement
                                       Description                                       Amount
                                                                                                     0.
Fuel tax income (Form 4136)                                                                          0.
Alcohol fuel credit income (Form 6478)                                                               0.
Section 481 adjustments                                                                              0.
                                                                                                     0.
                                                                            Total                    0.

Form 1120: US Corporation Income Tax Return
Schedule M-1, Line 8b                                                        Continuation Statement
                                       Description                                       Amount
Employer Payroll Taxes                                                                          21,768.
Other                                                                                           -9,533.
                                                                            Total               12,235.
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2021 Federal Forms to Print and Mail
Important: Your taxes are not finished until all required steps are completed.



 Premier Lumber Company, Inc.
 1400 Preston Road, Ste 400
 Plano, TX 75093
                  |
 Balance      | No payment is required with your Federal tax return (2021 Form 1120,
 Due/         | U.S. Corporation Income Tax Return).
 Refund       |
              |
______________________________________________________________________________________
                  |
 2021         | No Refund or Amount Due                  $          0.00
 Federal      |
 Tax          |
 Return       |
 Summary      |
              |
______________________________________________________________________________________
                  |
 Forms        |
 Included     |
              |
______________________________________________________________________________________




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                                                                               Case 25-10296                        Doc 1             Filed 06/30/25 Entered 06/30/25 19:07:33                                                                          Desc Main
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                                                                    1120                                                    U.S. Corporation Income Tax Return                                                                                                             OMB No. 1545-0123


                                                                                                                                                                                                                                                                            2021
Form                                                                                             For calendar year 2021 or tax year beginning                                                         , 2021, ending              Dec 31              , 20 21
                                                                                                                                                                             Oct 6
Department of the Treasury
Internal Revenue Service                                                                                          a Go to www.irs.gov/Form1120 for instructions and the latest information.

A Check if:                                                                                                  Name                                                                                                                                  B Employer identification number
1a Consolidated return
   (attach Form 851)     .                                                                                   Premier Lumber Company, Inc.                                                                                                          XX-XXXXXXX
                                                                                              TYPE
 b Life/nonlife consoli-                                                                                     Number, street, and room or suite no. If a P.O. box, see instructions.                                                                C Date incorporated
   dated return .    .   .                                                                    OR
2 Personal holding co.                                                                        PRINT          1400 Preston Road, Ste 400                                                                                                            10/06/2021
   (attach Sch. PH) .    .                                                                                   City or town, state or province, country, and ZIP or foreign postal code                                                              D Total assets (see instructions)
3 Personal service corp.
  (see instructions) . .                                                                                     Plano                                                                                    TX 75093                                                         $                    0
4 Schedule M-3 attached                                                                        E Check if: (1)              Initial return               (2)           Final return                     (3)           Name change                 (4)           Address change
                                                                     1a      Gross receipts or sales .              .   .    .    .   .      .   .   .         .   .     .    .   .       .      .      .     .         1a                                  0
                                                                      b      Returns and allowances . . . . . .                              .   .   .         .   .     .    .   .       .      .      .     .         1b                                  0
                                                                      c      Balance. Subtract line 1b from line 1a  .                       .   .   .         .   .     .    .   .       .      .      .     .   .     . .        .    .     .   .     .         1c                        0
                                                                     2       Cost of goods sold (attach Form 1125-A) .                       .   .   .         .   .     .    .   .       .      .      .     .   .     . .        .    .     .   .     .          2                        0
                                                                     3       Gross profit. Subtract line 2 from line 1c . .                      .   .         .   .     .    .   .       .      .      .     .   .     .     .    .    .     .   .     .          3                        0
     Income




                                                                     4       Dividends and inclusions (Schedule C, line 23)                      .   .         .   .     .    .   .       .      .      .     .   .     .     .    .    .     .   .     .          4
                                                                     5       Interest   . . . . . . . . . . .                                    .   .         .   .     .    .   .       .      .      .     .   .     .     .    .    .     .   .     .          5                        0
                                                                     6       Gross rents . . . . . . . . . . . . . .                                                     .    .   .       .      .      .     .   .     .     .    .    .     .   .     .          6                        0
                                                                     7       Gross royalties . . . . . . . . . . . . .                                                   .    .   .       .      .      .     .   .     .     .    .    .     .   .     .          7                        0
                                                                     8       Capital gain net income (attach Schedule D (Form 1120)) .                                   .    .   .       .      .      .     .   .     .     .    .    .     .   .     .          8
                                                                     9       Net gain or (loss) from Form 4797, Part II, line 17 (attach Form 4797)   . . . . . . .                                                                .    .     .   .     .          9
                                                                    10       Other income (see instructions—attach statement) . Other  . . . Income
                                                                                                                                                . . . . Statement
                                                                                                                                                          . . . . .                                                                .    .     .   .     .         10                        0
                                                                    11       Total income. Add lines 3 through 10 . . . . . . . . . . . . . . . .                                                                                  .    .     .   .     a         11                        0
                                                                    12       Compensation of officers (see instructions—attach Form 1125-E)         . . . . . . . .                                                                .    .     .   .     a         12                        0
     Deductions (See instructions for limitations on deductions.)




                                                                    13       Salaries and wages (less employment credits)                        .   .         .   .     .    .   .       .      .      .     .   .     .     .    .    .     .   .     .         13                        0
                                                                    14       Repairs and maintenance                .   .    .    .   .      .   .   .         .   .     .    .   .       .      .      .     .   .     .     .    .    .     .   .     .         14
                                                                    15       Bad debts . . .             .    .     .   .    .    .   .      .   .   .         .   .     .    .   .       .      .      .     .   .     .     .    .    .     .   .     .         15
                                                                    16       Rents . . . .               .    .     .   .    .    .   .      .   .   .         .   .     .    .   .       .      .      .     .   .     .     .    .    .     .   .     .         16
                                                                    17       Taxes and licenses          .    .     .   .    .    .   .      .   .   .         .   .     .    .   .       .      .      .     .   .     .     .    .    .     .   .     .         17                        0
                                                                    18       Interest (see instructions) . . . . . . . . . . . . . . . . . . . . . . .                                                                                            .     .         18
                                                                    19       Charitable contributions . . . . . . . . . . . . . . . . . . . . . . . .                                                                                             .     .         19
                                                                    20       Depreciation from Form 4562 not claimed on Form 1125-A or elsewhere on return (attach Form 4562) .                                                                   .     .         20
                                                                    21       Depletion . . . . . . . .                            .   .      .   .   .         .   .     .    .   .       .      .      .     .   .     .     .    .    .     .   .     .         21
                                                                    22       Advertising    . . . . . . .                         .   .      .   .   .         .   .     .    .   .       .      .      .     .   .     .     .    .    .     .   .     .         22
                                                                    23       Pension, profit-sharing, etc., plans                 .   .      .   .   .         .   .     .    .   .       .      .      .     .   .     .     .    .    .     .   .     .         23                        0
                                                                    24       Employee benefit programs      . .                   .    . . .          . . . . . . . . . . .                                             .     .    .    .     .   .     .         24                        0
                                                                    25       Reserved for future use . . . .                      .    . . .          . . . . . . . . . . .                                             .     .    .    .     .   .     .         25
                                                                    26       Other deductions (attach statement)                  .   Other
                                                                                                                                       . . .         Deductions
                                                                                                                                                      . . . . . .Statement
                                                                                                                                                                   . . . . .                                            .     .    .    .     .   .     .         26               36,000
                                                                    27       Total deductions. Add lines 12 through 26 . . . . . . . . . . . . . . . . . . .                                                                                            a         27               36,000
                                                                    28       Taxable income before net operating loss deduction and special deductions. Subtract line 27 from line 11.                                                                  .         28              -36,000
                                                                    29a      Net operating loss deduction (see instructions) . . . . . . . . . . .                 29a
                                                                      b      Special deductions (Schedule C, line 24) . . . . . . . .                                             .       .      .      .     .        29b
                                                                      c      Add lines 29a and 29b . . . . . . . . . . . . .                                                      .       .      .      .     .   .     . .        .    .     .   .     .        29c
                                                                    30       Taxable income. Subtract line 29c from line 28. See instructions                                     .       .      .      .     .   .     . .        .    .     .   .     .         30              -36,000
Tax, Refundable Credits, and




                                                                    31       Total tax (Schedule J, Part I, line 11) . . . . . .                                   .     .    .   .       .      .      .     .   .     .     .    .    .     .   .     .         31                    0
                                                                    32       Reserved for future use . . . . . . . . . .                                           .     .    .   .       .      .      .     .   .     .     .    .    .     .   .     .         32
         Payments




                                                                    33       Total payments and credits (Schedule J, Part III, line 23)                            .     .    .   .       .      .      .     .   .     .     .    .    .     .   .     .         33
                                                                    34       Estimated tax penalty. See instructions. Check if Form 2220 is attached      . . . . .                                                           .    .    .     .a                  34
                                                                    35       Amount owed. If line 33 is smaller than the total of lines 31 and 34, enter amount owed                                                          .    .    .     . .       .         35
                                                                    36       Overpayment. If line 33 is larger than the total of lines 31 and 34, enter amount overpaid                                                       .    .    .     . .       .         36                        0
                                                                    37       Enter amount from line 36 you want: Credited to 2022 estimated tax a                                                                                      Refunded a                 37
                                                                             Under penalties of perjury, I declare that I have examined this return, including accompanying schedules and statements, and to the best of my knowledge and belief, it is true, correct,
                                                                             and complete. Declaration of preparer (other than taxpayer) is based on all information of which preparer has any knowledge.
Sign                                                                                                                                                                                                                                                        May the IRS discuss this return
                                                                                                                                                                                                                                                            with the preparer shown below?
Here
                                                                         F




                                                                                                                                                                                      F




                                                                                                                                                      04/18/2022                          CFO                                                               See instructions.     Yes       No
                                                                             Signature of officer                                                         Date                                Title
                                                                                 Print/Type preparer’s name                                  Preparer’s signature                                                      Date                                                PTIN
Paid                                                                                                                                                                                                                                               Check      if
                                                                                                                                                                                                                                                   self-employed
Preparer
                                                                                                             Self-Prepared
Use Only Firm’s name                                                                                                                                                                                                                        Firm’s EIN a
                                                                                                    a

                                                                                 Firm’s address a                                                                                                                                           Phone no.
For Paperwork Reduction Act Notice, see separate instructions. REV 04/27/22 TTBIZ                                                                                                                                                                                           Form 1120 (2021)
BAA
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Form 1120 (2021)                                                                                                                                                       Page 2
 Schedule C           Dividends, Inclusions, and Special Deductions (see                                          (a) Dividends and
                                                                                                                                              (b) %
                                                                                                                                                         (c) Special deductions
                      instructions)                                                                                   inclusions                                (a) × (b)

  1       Dividends from less-than-20%-owned domestic corporations (other than debt-financed
          stock) . . . . . . . . . . . . . . . . . . . . . . . .                                                                              50
  2       Dividends from 20%-or-more-owned domestic corporations (other than debt-financed
          stock) . . . . . . . . . . . . . . . . . . . . . . . .                                                                              65
                                                                                                                                              See
  3       Dividends on certain debt-financed stock of domestic and foreign corporations                   .   .                           instructions


  4       Dividends on certain preferred stock of less-than-20%-owned public utilities                .   .   .                               23.3

  5       Dividends on certain preferred stock of 20%-or-more-owned public utilities .                .   .   .                               26.7

  6       Dividends from less-than-20%-owned foreign corporations and certain FSCs                    .   .   .                               50

  7       Dividends from 20%-or-more-owned foreign corporations and certain FSCs                      .   .   .                               65

  8       Dividends from wholly owned foreign subsidiaries           .   .   .   .   .   .   .    .   .   .   .                               100
                                                                                                                                              See
  9       Subtotal. Add lines 1 through 8. See instructions for limitations .            .   .    .   .   .   .                           instructions

 10       Dividends from domestic corporations received by a small business investment
          company operating under the Small Business Investment Act of 1958 . . . . .                                                         100

 11       Dividends from affiliated group members .          .   .   .   .   .   .   .   .   .    .   .   .   .                               100

 12       Dividends from certain FSCs        .   .   .   .   .   .   .   .   .   .   .   .   .    .   .   .   .                               100
 13       Foreign-source portion of dividends received from a specified 10%-owned foreign
          corporation (excluding hybrid dividends) (see instructions) . . . . . . . . .                                                       100
 14       Dividends from foreign corporations not included on line 3, 6, 7, 8, 11, 12, or 13
          (including any hybrid dividends) . . . . . . . . . . . . . . . . .


 15       Reserved for future use .      .   .   .   .   .   .   .   .   .   .   .   .   .   .    .   .   .   .

 16a      Subpart F inclusions derived from the sale by a controlled foreign corporation (CFC) of
          the stock of a lower-tier foreign corporation treated as a dividend (attach Form(s) 5471)
          (see instructions) . . . . . . . . . . . . . . . . . . . . .                                                                        100
      b   Subpart F inclusions derived from hybrid dividends of tiered corporations (attach Form(s)
          5471) (see instructions) . . . . . . . . . . . . . . . . . . .
    c     Other inclusions from CFCs under subpart F not included on line 16a, 16b, or 17 (attach
          Form(s) 5471) (see instructions) . . . . . . . . . . . . . . . . .

 17       Global Intangible Low-Taxed Income (GILTI) (attach Form(s) 5471 and Form 8992) .                    .


 18       Gross-up for foreign taxes deemed paid         .   .   .   .   .   .   .   .   .   .    .   .   .   .


 19       IC-DISC and former DISC dividends not included on line 1, 2, or 3              .   .    .   .   .   .


 20       Other dividends    .   .   .   .   .   .   .   .   .   .   .   .   .   .   .   .   .    .   .   .   .


 21       Deduction for dividends paid on certain preferred stock of public utilities             .   .   .   .


 22       Section 250 deduction (attach Form 8993)           .   .   .   .   .   .   .   .   .    .   .   .   .
 23       Total dividends and inclusions. Add column (a), lines 9 through 20. Enter here and on
          page 1, line 4 . . . . . . . . . . . . . . . . . . . . . .
 24       Total special deductions. Add column (c), lines 9 through 22. Enter here and on page 1, line 29b .                .   .     .   .    .    .
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Form 1120 (2021)                                                                                                                                                Page 3
 Schedule J           Tax Computation and Payment (see instructions)
Part I—Tax Computation
  1     Check if the corporation is a member of a controlled group (attach Schedule O (Form 1120)). See instructions a
  2     Income tax. See instructions . . . . . . . . . . . . . . . . . . . . . . . .                                                        .   2                    0
  3     Base erosion minimum tax amount (attach Form 8991) .             .   .   .   .   .   .    .   .   .   .   . .       .   .   .   .   .   3
  4     Add lines 2 and 3 . . . . . . . . . . . .                        .   .   .   .   .   .    .   .   .   .   . .       .   .   .   .   .   4                    0
  5a    Foreign tax credit (attach Form 1118) . . . . . .                .   .   .   .   .   .    .   .   .       5a
    b   Credit from Form 8834 (see instructions) . . . .             .   .   .   .   .   .   .    .   .   .       5b
    c   General business credit (attach Form 3800) . . .             .   .   .   .   .   .   .    .   .   .       5c
    d   Credit for prior year minimum tax (attach Form 8827)         .   .   .   .   .   .   .    .   .   .       5d
    e   Bond credits from Form 8912 . . .            .   .   .   .   .   .   .   .   .   .   .    .   .   .       5e
  6     Total credits. Add lines 5a through 5e       .   .   .   .   .   .   .   .   .   .   .    .   .   .   .   . .       .   .   .   .   .   6
  7     Subtract line 6 from line 4 . . . .          .   .   .   .   .   .   .   .   .   .   .    .   .   .   .   . .       .   .   .   .   .   7                    0
  8     Personal holding company tax (attach Schedule PH (Form 1120)) .              .   .   .    .   .   .   .   . .       .   .   .   .   .   8
  9a    Recapture of investment credit (attach Form 4255) . . . . .                  .   .   .    .   .   .       9a
    b   Recapture of low-income housing credit (attach Form 8611) . .                .   .   .    .   .   .       9b
    c   Interest due under the look-back method—completed long-term contracts (attach
        Form 8697) . . . . . . . . . . . . . . . . . . . . . . .                                                  9c
    d   Interest due under the look-back method—income forecast method (attach Form 8866)                         9d
    e   Alternative tax on qualifying shipping activities (attach Form 8902)         .   .   .    .   .   .       9e
    f   Interest/tax due under section 453A(c) and/or section 453(l) . .             .   .   .    .   .   .       9f
    g   Other (see instructions—attach statement)        . . . . . . .               .   .   .    .   .   .       9g
 10     Total. Add lines 9a through 9g . . . . . . . . . . . .                           .   .    .   .   .   .   .     .   .   .   .   .   .   10
 11     Total tax. Add lines 7, 8, and 10. Enter here and on page 1, line 31 .           .   .    .   .   .   .   .     .   .   .   .   .   .   11                 0
Part II—Reserved For Future Use
 12     Reserved for future use .    .   .   .   .   .   .   .   .   .   .   .   .   .   .   .    .   .   .   .   .     .   .   .   .   .   .   12
Part III—Payments and Refundable Credits
 13     2020 overpayment credited to 2021        .   .   .   .   .   .   .   .   .   .   .   .    .   .   .   .   .     .   .   .   .   .   .   13
 14     2021 estimated tax payments . . .            .   .   .   .   .   .   .   .   .   .   .    .   .   .   .   .     .   .   .   .   .   .   14
 15     2021 refund applied for on Form 4466 .       .   .   .   .   .   .   .   .   .   .   .    .   .   .   .   .     .   .   .   .   .   .   15 (                   )
 16     Combine lines 13, 14, and 15 . . .           .   .   .   .   .   .   .   .   .   .   .    .   .   .   .   .     .   .   .   .   .   .   16
 17     Tax deposited with Form 7004 . . . .             .   .   .   .   .   .   .   .   .   .    .   .   .   .   .     .   .   .   .   .   .   17
 18     Withholding (see instructions) . . . .           .   .   .   .   .   .   .   .   .   .    .   .   .   .   .     .   .   .   .   .   .   18
 19     Total payments. Add lines 16, 17, and 18         .   .   .   .   .   .   .   .   .   .    .   .   .   .   .     .   .   .   .   .   .   19
 20     Refundable credits from:
    a   Form 2439 . . . . .          .   .   .   .   .   .   .   .   .   .   .   .   .   .   .    .   .   .       20a
    b   Form 4136 . . . . .          .   .   .   .   .   .   .   .   .   .   .   .   .   .   .    .   .   .       20b
    c   Reserved for future use . . . . . .              .   .   .   .   .   .   .   .   .   .    .   .   .     20c
    d   Other (attach statement—see instructions)        .   .   .   .   .   .   .   .   .   .    .   .   .     20d
 21     Total credits. Add lines 20a through 20d .       .   .   .   .   .   .   .   .   .   .    .   .   .   . . .         .   .   .   .   .   21
 22     Reserved for future use . . . . . . . . . . . . . . . . . . .                                         .   .     .   .   .   .   .   .   22
 23     Total payments and credits. Add lines 19 and 21. Enter here and on page 1, line 33 .                  .   .     .   .   .   .   .   .   23
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 Schedule K              Other Information (see instructions)
  1       Check accounting method: a          Cash            b       Accrual        c        Other (specify) a                                                   Yes     No
  2       See the instructions and enter the:
      a   Business activity code no. a 321113
      b   Business activity a Manufacturing
      c   Product or service a Lumber
  3       Is the corporation a subsidiary in an affiliated group or a parent–subsidiary controlled group?         .   .      .   .   .   .    .   .   .    .
          If “Yes,” enter name and EIN of the parent corporation a


  4       At the end of the tax year:

      a   Did any foreign or domestic corporation, partnership (including any entity treated as a partnership), trust, or tax-exempt
          organization own directly 20% or more, or own, directly or indirectly, 50% or more of the total voting power of all classes of the
          corporation’s stock entitled to vote? If “Yes,” complete Part I of Schedule G (Form 1120) (attach Schedule G) . . . . . .
      b   Did any individual or estate own directly 20% or more, or own, directly or indirectly, 50% or more of the total voting power of all
          classes of the corporation’s stock entitled to vote? If “Yes,” complete Part II of Schedule G (Form 1120) (attach Schedule G) .
  5       At the end of the tax year, did the corporation:
      a   Own directly 20% or more, or own, directly or indirectly, 50% or more of the total voting power of all classes of stock entitled to vote of
          any foreign or domestic corporation not included on Form 851, Affiliations Schedule? For rules of constructive ownership, see instructions.
          If “Yes,” complete (i) through (iv) below.
                                                                                             (ii) Employer                (iii) Country of                (iv) Percentage
                               (i) Name of Corporation                                   Identification Number                                            Owned in Voting
                                                                                                  (if any)                 Incorporation                       Stock




      b Own directly an interest of 20% or more, or own, directly or indirectly, an interest of 50% or more in any foreign or domestic partnership
        (including an entity treated as a partnership) or in the beneficial interest of a trust? For rules of constructive ownership, see instructions.
        If “Yes,” complete (i) through (iv) below.
                                                                                             (ii) Employer                (iii) Country of                (iv) Maximum
                                  (i) Name of Entity                                     Identification Number                                        Percentage Owned in
                                                                                                  (if any)                  Organization              Profit, Loss, or Capital




  6       During this tax year, did the corporation pay dividends (other than stock dividends and distributions in exchange for stock) in
          excess of the corporation’s current and accumulated earnings and profits? See sections 301 and 316 . . . . . . . .
          If “Yes,” file Form 5452, Corporate Report of Nondividend Distributions. See the instructions for Form 5452.
          If this is a consolidated return, answer here for the parent corporation and on Form 851 for each subsidiary.
  7       At any time during the tax year, did one foreign person own, directly or indirectly, at least 25% of the total voting power of all
          classes of the corporation’s stock entitled to vote or at least 25% of the total value of all classes of the corporation’s stock? .
          For rules of attribution, see section 318. If “Yes,” enter:
          (a) Percentage owned a                         and (b) Owner’s country a
          (c) The corporation may have to file Form 5472, Information Return of a 25% Foreign-Owned U.S. Corporation or a Foreign
          Corporation Engaged in a U.S. Trade or Business. Enter the number of Forms 5472 attached a
  8       Check this box if the corporation issued publicly offered debt instruments with original issue discount . . . . . . a
          If checked, the corporation may have to file Form 8281, Information Return for Publicly Offered Original Issue Discount Instruments.
  9       Enter the amount of tax-exempt interest received or accrued during the tax year a $                                              0.
 10       Enter the number of shareholders at the end of the tax year (if 100 or fewer) a                                                    5
 11       If the corporation has an NOL for the tax year and is electing to forego the carryback period, check here (see instructions) a
          If the corporation is filing a consolidated return, the statement required by Regulations section 1.1502-21(b)(3) must be attached
          or the election will not be valid.
 12       Enter the available NOL carryover from prior tax years (do not reduce it by any deduction reported on
          page 1, line 29a.) . . . . . . . . . . . . . . . . . . . . . . . . . a $
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 Schedule K              Other Information (continued from page 4)
                                                                                                                                                         Yes     No
 13       Are the corporation’s total receipts (page 1, line 1a, plus lines 4 through 10) for the tax year and its total assets at the end of the
          tax year less than $250,000?     . . . . . . . . . . . . . . . . . . . . . . . . . . . . .
          If “Yes,” the corporation is not required to complete Schedules L, M-1, and M-2. Instead, enter the total amount of cash
          distributions and the book value of property distributions (other than cash) made during the tax year a $            0.
 14       Is the corporation required to file Schedule UTP (Form 1120), Uncertain Tax Position Statement? See instructions             .   .   .   .
          If “Yes,” complete and attach Schedule UTP.
 15a      Did the corporation make any payments in 2021 that would require it to file Form(s) 1099?        .   .   .   .   .   .   .   .   .   .   .
   b      If “Yes,” did or will the corporation file required Form(s) 1099? . . . . . . . . .              .   .   .   .   .   .   .   .   .   .   .
 16       During this tax year, did the corporation have an 80%-or-more change in ownership, including a change due to redemption of its
          own stock?      . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .
 17       During or subsequent to this tax year, but before the filing of this return, did the corporation dispose of more than 65% (by value)
          of its assets in a taxable, non-taxable, or tax deferred transaction? . . . . . . . . . . . . . . . . . .
 18       Did the corporation receive assets in a section 351 transfer in which any of the transferred assets had a fair market basis or fair
          market value of more than $1 million? . . . . . . . . . . . . . . . . . . . . . . . . . . .
 19       During the corporation’s tax year, did the corporation make any payments that would require it to file Forms 1042 and 1042-S
          under chapter 3 (sections 1441 through 1464) or chapter 4 (sections 1471 through 1474) of the Code? . . . . . . . .
 20       Is the corporation operating on a cooperative basis?. . . . . . . . . . . . . . . . . . . . . . .
 21       During the tax year, did the corporation pay or accrue any interest or royalty for which the deduction is not allowed under section
          267A? See instructions . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .
          If “Yes,” enter the total amount of the disallowed deductions a $
 22       Does the corporation have gross receipts of at least $500 million in any of the 3 preceding tax years? (See sections 59A(e)(2)
          and (3)) . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .
          If “Yes,” complete and attach Form 8991.
 23       Did the corporation have an election under section 163(j) for any real property trade or business or any farming business in effect
          during the tax year? See instructions . . . . . . . . . . . . . . . . . . . . . . . . . . .
 24       Does the corporation satisfy one or more of the following? See instructions . . . . . . . . . . . . . . . .
    a     The corporation owns a pass-through entity with current, or prior year carryover, excess business interest expense.
    b     The corporation’s aggregate average annual gross receipts (determined under section 448(c)) for the 3 tax years preceding the
          current tax year are more than $26 million and the corporation has business interest expense.
      c   The corporation is a tax shelter and the corporation has business interest expense.
          If “Yes,” complete and attach Form 8990.
 25       Is the corporation attaching Form 8996 to certify as a Qualified Opportunity Fund? . . . . . . . . . . . . . .
          If “Yes,” enter amount from Form 8996, line 15 . . . . a $

 26       Since December 22, 2017, did a foreign corporation directly or indirectly acquire substantially all of the properties held directly or
          indirectly by the corporation, and was the ownership percentage (by vote or value) for purposes of section 7874 greater than
          50% (for example, the shareholders held more than 50% of the stock of the foreign corporation)? If “Yes,” list the ownership
          percentage by vote and by value. See instructions . . . . . . . . . . . . . . . . . . . . . . .
          Percentage: By Vote                                                   By Value
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Form 1120 (2021)                                                                                                                                                      Page 6
 Schedule L                Balance Sheets per Books                          Beginning of tax year                                        End of tax year
                                    Assets                               (a)                     (b)                                (c)                         (d)
  1       Cash     .   .    .   .   .   .   .   .   .   .   .   .
  2a      Trade notes and accounts receivable .             .   .
    b     Less allowance for bad debts . . .                .   .   (                 )                                    (                        )
  3       Inventories . . . . . . . . .                     .   .
  4       U.S. government obligations      . . .            .   .
  5       Tax-exempt securities (see instructions)          .   .
  6       Other current assets (attach statement)           .   .
  7       Loans to shareholders . . . . .                   .   .
  8       Mortgage and real estate loans . . .              .   .
  9       Other investments (attach statement) .            .   .
 10a      Buildings and other depreciable assets            .   .
    b     Less accumulated depreciation . . .               .   .   (                 )                                    (                        )
 11a      Depletable assets . . . . . . .                   .   .
    b     Less accumulated depletion . . . .                .   .   (                 )                                    (                        )
 12       Land (net of any amortization) . . .              .   .
 13a      Intangible assets (amortizable only)   .          .   .
    b     Less accumulated amortization . . .               .   .   (                 )                                    (                        )
 14       Other assets (attach statement) . . .             .   .
 15       Total assets    . . . . . . . .                   .   .
              Liabilities and Shareholders’ Equity
 16       Accounts payable . . . . . . . . .
 17       Mortgages, notes, bonds payable in less than 1 year
 18       Other current liabilities (attach statement) . .
 19       Loans from shareholders . . . . . . .
 20       Mortgages, notes, bonds payable in 1 year or more
 21       Other liabilities (attach statement) . . . .
 22       Capital stock:     a Preferred stock . . . .
                             b Common stock . . . .
 23       Additional paid-in capital . . . . . . .
 24       Retained earnings—Appropriated (attach statement)
 25       Retained earnings—Unappropriated . . .
 26       Adjustments to shareholders’ equity (attach statement)
 27       Less cost of treasury stock . . . . . .                                         (                            )                                (                  )
 28       Total liabilities and shareholders’ equity . .
Schedule M-1               Reconciliation of Income (Loss) per Books With Income per Return
                           Note: The corporation may be required to file Schedule M-3. See instructions.
  1       Net income (loss) per books .         .   .   .   .   .                              7      Income recorded on books this year
  2       Federal income tax per books          .   .   .   .   .                                     not included on this return (itemize):
  3       Excess of capital losses over capital gains           .                                     Tax-exempt interest $
  4       Income subject to tax not recorded on books
          this year (itemize):
                                                                                               8     Deductions on this return not charged
  5       Expenses recorded on books this year not                                                   against book income this year (itemize):
          deducted on this return (itemize):                                                       a Depreciation . . $
      a   Depreciation . . . . $                                                                   b Charitable contributions $
      b   Charitable contributions . $
      c   Travel and entertainment . $
                                                                                               9      Add lines 7 and 8 . . . . . .
  6       Add lines 1 through 5 .       .   .   .   .   .   .   .                             10      Income (page 1, line 28)—line 6 less line 9
Schedule M-2               Analysis of Unappropriated Retained Earnings per Books (Schedule L, Line 25)
  1       Balance at beginning of year          .   .   .   .   .                              5      Distributions: a Cash . .       .   .   .
  2       Net income (loss) per books .         .   .   .   .   .                                                    b Stock    .     .   .   .
  3       Other increases (itemize):                                                                                 c Property .     .   .   .
                                                                                               6      Other decreases (itemize):
                                                                                               7      Add lines 5 and 6 . . . . . .
  4       Add lines 1, 2, and 3 .       .   .   .   .   .   .   .                              8      Balance at end of year (line 4 less line 7)
                                                                        REV 04/27/22 TTBIZ                                                                  Form 1120 (2021)
               Case 25-10296                  Doc 1          Filed 06/30/25 Entered 06/30/25 19:07:33                                                   Desc Main
                                                             Document      Page 56 of 114
SCHEDULE D                                                   Capital Gains and Losses                                                                               OMB No. 1545-0123
(Form 1120)
                                                                                                                                                                     2021
                                a Attach to Form 1120, 1120-C, 1120-F, 1120-FSC, 1120-H, 1120-IC-DISC, 1120-L, 1120-ND, 1120-PC,

Department of the Treasury                         1120-POL, 1120-REIT, 1120-RIC, 1120-SF, or certain Forms 990-T.
Internal Revenue Service                      a Go to www.irs.gov/Form1120 for instructions and the latest information.

Name                                                                                                                                            Employer identification number
Premier Lumber Company, Inc.                                                                                                                    XX-XXXXXXX
Did the corporation dispose of any investment(s) in a qualified opportunity fund during the tax year? . . . .                                                   a       Yes         No
If “Yes,” attach Form 8949 and see its instructions for additional requirements for reporting your gain or loss.
 Part I       Short-Term Capital Gains and Losses—Assets Held One Year or Less
       See instructions for how to figure the amounts to enter on                       (d)                           (e)             (g) Adjustments to gain   (h) Gain or (loss)
       the lines below.                                                                                                               or loss from Form(s)      Subtract column (e) from
                                                                                     Proceeds                        Cost
       This form may be easier to complete if you round off cents to               (sales price)               (or other basis)       8949, Part I, line 2,     column (d) and combine
       whole dollars.                                                                                                                 column (g)                the result with column (g)
  1a Totals for all short-term transactions reported on Form
     1099-B for which basis was reported to the IRS and for
     which you have no adjustments (see instructions). However,
     if you choose to report all these transactions on Form 8949,
     leave this line blank and go to line 1b . . . . . .
  1b Totals for all transactions reported on Form(s) 8949
     with Box A checked . . . . . . . . . .
  2 Totals for all transactions reported on Form(s) 8949
    with Box B checked . . . . . . . . . .
  3 Totals for all transactions reported on Form(s) 8949
    with Box C checked . . . . . . . . . .

  4 Short-term capital gain from installment sales from Form 6252, line 26 or 37 .                               .   .   .    .   .     .   .   .   .     4

  5 Short-term capital gain or (loss) from like-kind exchanges from Form 8824                              .     .   .   .    .   .     .   .   .   .     5

  6 Unused capital loss carryover (attach computation)                     .   .    .   .   .      .   .   .     .   .   .    .   .     .   .   .   .     6     (                            )

  7 Net short-term capital gain or (loss). Combine lines 1a through 6 in column h                                .   .   .    .   .     .   .   .   .     7
 Part II      Long-Term Capital Gains and Losses—Assets Held More Than One Year
       See instructions for how to figure the amounts to enter on                       (d)                           (e)             (g) Adjustments to gain   (h) Gain or (loss)
       the lines below.                                                                                                               or loss from Form(s)      Subtract column (e) from
                                                                                     Proceeds                        Cost
       This form may be easier to complete if you round off cents to               (sales price)               (or other basis)       8949, Part II, line 2,    column (d) and combine
       whole dollars.                                                                                                                 column (g)                the result with column (g)
  8a Totals for all long-term transactions reported on Form
     1099-B for which basis was reported to the IRS and for
     which you have no adjustments (see instructions). However,
     if you choose to report all these transactions on Form 8949,
     leave this line blank and go to line 8b . . . . . .
  8b Totals for all transactions reported on Form(s) 8949
     with Box D checked . . . . . . . . . .
  9 Totals for all transactions reported on Form(s) 8949
    with Box E checked . . . . . . . . . .
 10 Totals for all transactions reported on Form(s) 8949
    with Box F checked . . . . . . . . . .

 11 Enter gain from Form 4797, line 7 or 9               .   .   .     .   .   .    .   .   .      .   .   .     .   .   .    .   .     .   .   .   .    11

 12 Long-term capital gain from installment sales from Form 6252, line 26 or 37 .                                .   .   .    .   .     .   .   .   .    12

 13 Long-term capital gain or (loss) from like-kind exchanges from Form 8824                               .     .   .   .    .   .     .   .   .   .    13

 14 Capital gain distributions (see instructions)            .   .     .   .   .    .   .   .      .   .   .     .   .   .    .   .     .   .   .   .    14                            0.

 15 Net long-term capital gain or (loss). Combine lines 8a through 14 in column h                                .   .   .    .   .     .   .   .   .    15                            0.
Part III      Summary of Parts I and II
 16 Enter excess of net short-term capital gain (line 7) over net long-term capital loss (line 15) . . . . .                                             16
 17 Net capital gain. Enter excess of net long-term capital gain (line 15) over net short-term capital loss (line 7)                                     17
 18 Add lines 16 and 17. Enter here and on Form 1120, page 1, line 8, or the applicable line on other returns                                            18
       Note: If losses exceed gains, see Capital Losses in the instructions.
For Paperwork Reduction Act Notice, see the Instructions for Form 1120.                                BAA                   REV 04/27/22 TTBIZ            Schedule D (Form 1120) 2021
                 Case 25-10296                  Doc 1           Filed 06/30/25 Entered 06/30/25 19:07:33                                               Desc Main
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Form       4797                                                 Sales of Business Property
                                                (Also Involuntary Conversions and Recapture Amounts
                                                                                                                                                                  OMB No. 1545-0184


                                                                                                                                                                   2021
                                                          Under Sections 179 and 280F(b)(2))
                                                                          a Attach to your tax return.                                                            Attachment
Department of the Treasury
Internal Revenue Service                   a Go to www.irs.gov/Form4797 for instructions and the latest information.                                              Sequence No. 27
Name(s) shown on return                                                                                                                      Identifying number


   1a      Enter the gross proceeds from sales or exchanges reported to you for 2021 on Form(s) 1099-B or 1099-S (or
           substitute statement) that you are including on line 2, 10, or 20. See instructions . . . . . . . . . .                                          1a
       b   Enter the total amount of gain that you are including on lines 2, 10, and 24 due to the partial dispositions of
           MACRS assets . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                                                                         1b
       c   Enter the total amount of loss that you are including on lines 2 and 10 due to the partial dispositions of MACRS
           assets . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                                                                           1c
 Part I        Sales or Exchanges of Property Used in a Trade or Business and Involuntary Conversions From Other
               Than Casualty or Theft—Most Property Held More Than 1 Year (see instructions)
                                                                                                                     (e) Depreciation         (f) Cost or other      (g) Gain or (loss)
   2         (a) Description               (b) Date acquired        (c) Date sold             (d) Gross                  allowed or               basis, plus       Subtract (f) from the
                of property                  (mo., day, yr.)        (mo., day, yr.)           sales price             allowable since        improvements and        sum of (d) and (e)
                                                                                                                         acquisition           expense of sale




   3       Gain, if any, from Form 4684, line 39        .   .   .    .    .   .   .   .   .    .   .   .    .   .    .   .   .   .   .   .     .   .   .     3
   4       Section 1231 gain from installment sales from Form 6252, line 26 or 37 .                    .    .   .    .   .   .   .   .   .     .   .   .     4
   5       Section 1231 gain or (loss) from like-kind exchanges from Form 8824. .                      .    .   .    .   .   .   .   .   .     .   .   .     5
   6       Gain, if any, from line 32, from other than casualty or theft . . . . .                     .    .   .    .   .   .   .   .   .     .   .   .     6
   7       Combine lines 2 through 6. Enter the gain or (loss) here and on the appropriate line as follows                       .   .   .     .   .   .     7
           Partnerships and S corporations. Report the gain or (loss) following the instructions for Form 1065, Schedule K,
           line 10, or Form 1120-S, Schedule K, line 9. Skip lines 8, 9, 11, and 12 below.

           Individuals, partners, S corporation shareholders, and all others. If line 7 is zero or a loss, enter the amount
           from line 7 on line 11 below and skip lines 8 and 9. If line 7 is a gain and you didn’t have any prior year section
           1231 losses, or they were recaptured in an earlier year, enter the gain from line 7 as a long-term capital gain on the
           Schedule D filed with your return and skip lines 8, 9, 11, and 12 below.
   8       Nonrecaptured net section 1231 losses from prior years. See instructions . . . . . . . . . . . .                                                  8

   9       Subtract line 8 from line 7. If zero or less, enter -0-. If line 9 is zero, enter the gain from line 7 on line 12 below. If
           line 9 is more than zero, enter the amount from line 8 on line 12 below and enter the gain from line 9 as a long-term
           capital gain on the Schedule D filed with your return. See instructions. . . . . . . . . . . . . .                                                9
 Part II       Ordinary Gains and Losses (see instructions)
 10        Ordinary gains and losses not included on lines 11 through 16 (include property held 1 year or less):




 11        Loss, if any, from line 7   .    .   .   .   .   .   .    .    .   .   .   .   .    .   .   .    .   .    .   .   .   .   .   .     .   .   .    11 (                            )
 12        Gain, if any, from line 7 or amount from line 8, if applicable .           .   .    .   .   .    .   .    .   .   .   .   .   .     .   .   .    12
 13        Gain, if any, from line 31 . . . . . . . . . . .                           .   .    .   .   .    .   .    .   .   .   .   .   .     .   .   .    13
 14        Net gain or (loss) from Form 4684, lines 31 and 38a . . .                  .   .    .   .   .    .   .    .   .   .   .   .   .     .   .   .    14
 15        Ordinary gain from installment sales from Form 6252, line 25 or 36                  .   .   .    .   .    .   .   .   .   .   .     .   .   .    15
 16        Ordinary gain or (loss) from like-kind exchanges from Form 8824 .                   .   .   .    .   .    .   .   .   .   .   .     .   .   .    16
 17        Combine lines 10 through 16. . . . . . . . . . . .                                  .   .   .    .   .    .   .   .   .   .   .     .   .   .    17
 18        For all except individual returns, enter the amount from line 17 on the appropriate line of your return and skip lines
           a and b below. For individual returns, complete lines a and b below.
       a If the loss on line 11 includes a loss from Form 4684, line 35, column (b)(ii), enter that part of the loss here. Enter the loss
         from income-producing property on Schedule A (Form 1040), line 16. (Do not include any loss on property used as an
         employee.) Identify as from “Form 4797, line 18a.” See instructions . . . . . . . . . . . . . . .                                                 18a
       b Redetermine the gain or (loss) on line 17 excluding the loss, if any, on line 18a. Enter here and on Schedule 1
         (Form 1040), Part I, line 4 . . . . . . . . . . . . . . . . . . . . . . . . . .                                                                   18b
For Paperwork Reduction Act Notice, see separate instructions. BAA                                                  REV 04/27/22 TTBIZ                               Form 4797 (2021)
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                                                              Document      Page 58 of 114
Form       1125-A                                                      Cost of Goods Sold
(Rev. November 2018)                                                                                                                                              OMB No. 1545-0123
                                                     a Attach to Form 1120, 1120-C, 1120-F, 1120S, or 1065.
Department of the Treasury                          a Go to www.irs.gov/Form1125A for the latest information.
Internal Revenue Service
Name                                                                                                                                                 Employer identification number
Premier Lumber Company, Inc.                                                                                                                         XX-XXXXXXX
   1       Inventory at beginning of year   .   .     .   .    .   .   .   .   .   .   .   .   .   .   .   .   .   .   .   .     .           1
   2       Purchases . . . . . .            .   .     .   .    .   .   .   .   .   .   .   .   .   .   .   .   .   .   .   .     .           2                                   0
   3       Cost of labor . . . . . . . . . . .                         .   .   .   .   .   .   .   .   .   .   .   .   .   .     .           3
   4       Additional section 263A costs (attach schedule) .           .   .   .   .   .   .   .   .   .   .   .   .   .   .     .           4
   5       Other costs (attach schedule) . . . . . .                   .   .   .   .   .   .   .   .   .   .   .   .   .   .     .           5
   6       Total. Add lines 1 through 5 .   .   .     .   .    .   .   .   .   .   .   .   .   .   .   .   .   .   .   .   .     .           6                                   0
   7       Inventory at end of year . .     .   .     .   .    .   .   .   .   .   .   .   .   .   .   .   .   .   .   .   .     .           7                                   0
   8       Cost of goods sold. Subtract line 7 from line 6. Enter here and on Form 1120, page 1, line 2 or the
           appropriate line of your tax return. See instructions . . . . . . . . . . . . . . .                                               8                                   0
   9a      Check all methods used for valuing closing inventory:
            (i)  Cost
            (ii)  Lower of cost or market
           (iii)  Other (Specify method used and attach explanation.) a
    b      Check if there was a writedown of subnormal goods    . . .                  .   .   .   .   .   .   .   .   .   .     .   .   .       .   .   .   .     .    .    a

    c      Check if the LIFO inventory method was adopted this tax year for any goods (if checked, attach Form 970)                              .   .   .   .     .    .    a

    d      If the LIFO inventory method was used for this tax year, enter amount of closing inventory computed
           under LIFO . . . . . . . . . . . . . . . . . . . . . . . . . . .                                              9d
    e      If property is produced or acquired for resale, do the rules of section 263A apply to the entity? See instructions .                          .             Yes       No
       f   Was there any change in determining quantities, cost, or valuations between opening and closing inventory? If “Yes,”
           attach explanation  . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                                                                               Yes       No


Section references are to the Internal                        merchandise is an income-producing                                  Small business taxpayer. A small
Revenue Code unless otherwise noted.                          factor. See Regulations section 1.471-1. If                      business taxpayer is a taxpayer that (a) has
                                                              inventories are required, you generally                          average annual gross receipts of $25
What's New                                                    must use an accrual method of accounting                         million or less (indexed for inflation) for the
Small business taxpayers. For tax years                       for sales and purchases of inventory items.                      3 prior tax years, and (b) is not a tax shelter
beginning after December 31, 2017, the                        Exception for certain taxpayers. A small                         (as defined in section 448(d)(3)). See Pub.
following apply.                                              business taxpayer (defined below), can                           538.
• A small business taxpayer (defined                          adopt or change its accounting method to                         Uniform capitalization rules. The uniform
below), may use a method of accounting for                    account for inventories in the same manner                       capitalization rules of section 263A
inventories that either: (1) treats inventories               as material and supplies that are non-                           generally require you to capitalize, or
as nonincidental materials and supplies, or                   incidental, or conform to its treatment of                       include in inventory, certain costs incurred
(2) conforms to the taxpayer's financial                      inventories in an applicable financial                           in connection with the following.
accounting treatment of inventories.                          statement (as defined in section 451(b)(3)),                     • The production of real property and
• A small business taxpayer is not required                   or if it does not have an applicable financial                   tangible personal property held in inventory
to capitalize costs under section 263A.                       statement, the method of accounting used                         or held for sale in the ordinary course of
                                                              in its books and records prepared in                             business.
General Instructions                                          accordance with its accounting
                                                                                                                               • Real property or personal property
                                                              procedures. See section 471(c)(3).
Purpose of Form                                                                                                                (tangible and intangible) acquired for resale.
                                                                 A small business taxpayer claiming
Use Form 1125-A to calculate and deduct                                                                                        • The production of real property and
                                                              exemption from the requirement to keep
cost of goods sold for certain entities.                                                                                       tangible personal property for use in its
                                                              inventories is changing its method of
                                                                                                                               trade or business or in an activity engaged
Who Must File                                                 accounting for purposes of section 481.
                                                                                                                               in for profit.
                                                              For additional guidance on this method of
Filers of Form 1120, 1120-C, 1120-F,                          accounting, see Pub. 538, Accounting                                A small business taxpayer (defined
1120S, or 1065, must complete and attach                      Periods and Methods. For guidance on                             above) is not required to capitalize costs
Form 1125-A if the applicable entity reports                  changing to this method of accounting, see                       under section 263A. See section 263A(i).
a deduction for cost of goods sold.                           Form 3115 and the Instructions for Form                             See the discussion on section 263A
Inventories                                                   3115.                                                            uniform capitalization rules in the
                                                                                                                               instructions for your tax return before
Generally, inventories are required at the                                                                                     completing Form 1125-A. Also see
beginning and end of each tax year if the                                                                                      Regulations sections 1.263A-1 through
production, purchase, or sale of                                                                                               1.263A-3. See Regulations section
                                                                                                                               1.263A-4 for rules for property produced in
                                                                                                                               a farming business.




For Paperwork Reduction Act Notice, see instructions. BAA                                                                       REV 04/27/22 TTBIZ Form          1125-A (Rev. 11-2018)
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SCHEDULE G                                    Information on Certain Persons Owning the
(Form 1120)
(Rev. December 2011)
                                                      Corporation’s Voting Stock                                                                                OMB No. 1545-0123
                                                                               a Attach to Form 1120.
Department of the Treasury
Internal Revenue Service                                                 a See instructions on page 2.
Name                                                                                                                                 Employer identification number (EIN)


Premier Lumber Company, Inc.                                                        XX-XXXXXXX
 Part I Certain Entities Owning the Corporation’s Voting Stock. (Form 1120, Schedule K, Question 4a). Complete
        columns (i) through (v) below for any foreign or domestic corporation, partnership (including any entity treated
        as a partnership), trust, or tax-exempt organization that owns directly 20% or more, or owns, directly or
        indirectly, 50% or more of the total voting power of all classes of the corporation’s stock entitled to vote (see
        instructions).
                                                (ii) Employer Identification
             (i) Name of Entity                                                   (iii) Type of Entity           (iv) Country of Organization     (v) Percentage Owned in Voting Stock
                                                       Number (if any)




 Part II       Certain Individuals and Estates Owning the Corporation’s Voting Stock. (Form 1120, Schedule K,
               Question 4b). Complete columns (i) through (iv) below for any individual or estate that owns directly 20% or
               more, or owns, directly or indirectly, 50% or more of the total voting power of all classes of the corporation’s
               stock entitled to vote (see instructions).
                                                                                                         (ii) Identifying Number      (iii) Country of       (iv) Percentage Owned
                                  (i) Name of Individual or Estate                                                                   Citizenship (see
                                                                                                                   (if any)            instructions)              in Voting Stock


Karthick Chandrasekaran                                                                             XXX-XX-XXXX                    US                                                51




For Paperwork Reduction Act Notice,                                               REV 04/27/22 TTBIZ                                            Schedule G (Form 1120) (Rev. 12-2011)
see the Instructions for Form 1120. BAA
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Form       8453-C                               U.S. Corporation Income Tax Declaration
                                                         for an IRS e-file Return
                                                                                                                                                                      OMB No. 1545-0123




                                                                                                                                                                       2021
                                         a File electronically with the corporation’s tax return. Do not file paper copies.
                                                    a Go to www.irs.gov/Form8453C for the latest information.
Department of the Treasury
Internal Revenue Service         For calendar year 2021, or tax year beginning                Oct 6       , 2021, ending                Dec 31 , 2021
Name of corporation                                                                                                                                     Employer identification number
Premier Lumber Company, Inc.                                                                                                                             XX-XXXXXXX
 Part I Tax Return Information (Whole dollars only)

   1       Total income (Form 1120, line 11) .             .   .   .   .   .   .    .     .   .   .   .   .    .    .   .   .      .    .   .     .         1                         0.

   2       Taxable income (Form 1120, line 30) .               .   .   .   .   .    .     .   .   .   .   .    .    .   .   .      .    .   .     .         2                  -36,000.

   3       Total tax (Form 1120, line 31)          .   .   .   .   .   .   .   .    .     .   .   .   .   .    .    .   .   .      .    .   .     .         3                         0.

   4       Amount owed (Form 1120, line 35)                .   .   .   .   .   .    .     .   .   .   .   .    .    .   .   .      .    .   .     .         4

   5       Overpayment (Form 1120, line 36) .              .   .   .   .   .   .    .     .   .   .   .   .    .    .   .   .      .    .   .     .         5                         0.
 Part II       Declaration of Officer (see instructions) Be sure to keep a copy of the corporation’s tax return.

   6a         I consent that the corporation’s refund be directly deposited as designated on the Form 8050, Direct Deposit of
              Corporate Tax Refund, that will be electronically transmitted with the corporation’s 2021 federal income tax return.
       b      I do not want direct deposit of the corporation’s refund or the corporation is not receiving a refund.
       c      I authorize the U.S. Treasury and its designated Financial Agent to initiate an electronic funds withdrawal (direct debit)
              entry to the financial institution account indicated in the tax preparation software for payment of the corporation’s federal
              taxes owed on this return, and the financial institution to debit the entry to this account. To revoke a payment, I must
              contact the U.S. Treasury Financial Agent at 1-888-353-4537 no later than 2 business days prior to the payment
              (settlement) date. I also authorize the financial institutions involved in the processing of the electronic payment of taxes
              to receive confidential information necessary to answer inquiries and resolve issues related to the payment.

   If the corporation is filing a balance due return, I understand that if the IRS does not receive full and timely payment of its tax
liability, the corporation will remain liable for the tax liability and all applicable interest and penalties.

Under penalties of perjury, I declare that I am an officer of the above corporation and that the information I have given my electronic return originator (ERO), transmitter,
and/or intermediate service provider (ISP) and the amounts in Part I above agree with the amounts on the corresponding lines of the corporation’s 2021 federal income tax
return. To the best of my knowledge and belief, the corporation’s return is true, correct, and complete. I consent to my ERO, transmitter, and/or ISP sending the
corporation’s return, this declaration, and accompanying schedules and statements to the IRS. I also consent to the IRS sending my ERO, transmitter, and/or ISP an
acknowledgment of receipt of transmission and an indication of whether or not the corporation’s return is accepted, and, if rejected, the reason(s) for the rejection. If the
processing of the corporation’s return or refund is delayed, I authorize the IRS to disclose to my ERO, transmitter, and/or ISP the reason(s) for the delay, or when the refund
was sent.

Sign
             F




                                                                                                      F




                                                                                   04/18/2022                 CFO
Here              Signature of officer                                             Date                   Title

Part III       Declaration of Electronic Return Originator (ERO) and Paid Preparer (see instructions)
I declare that I have reviewed the above corporation’s return and that the entries on Form 8453-C are complete and correct to the best of my knowledge. If I am only a
collector, I am not responsible for reviewing the return and only declare that this form accurately reflects the data on the return. The corporate officer will have signed this
form before I submit the return. I will give the officer a copy of all forms and information to be filed with the IRS, and have followed all other requirements in Pub. 3112, IRS
e-file Application and Participation, and Pub. 4163, Modernized e-File (MeF) Information for Authorized IRS e-file Providers for Business Returns. If I am also the Paid
Preparer, under penalties of perjury, I declare that I have examined the above corporation’s return and accompanying schedules and statements, and to the best of my
knowledge and belief, they are true, correct, and complete. This Paid Preparer declaration is based on all information of which I have any knowledge.


                                                                                Date                          Check if                 Check if             ERO’s SSN or PTIN
                             F




ERO’s            ERO’s                                                                                        also paid                self-
                 signature                                                                                    preparer                 employed
Use              Firm’s name (or yours
                                          F




                                                                                                                                                      EIN
                 if self-employed),
Only             address, and ZIP code                                                                                                                Phone no.
Under penalties of perjury, I declare that I have examined the above corporation’s return and accompanying schedules and statements, and to the best of my knowledge
and belief, they are true, correct, and complete. This declaration is based on all information of which I have any knowledge.

                   Print/Type preparer’s name                       Preparer’s signature                                    Date                      Check       if    PTIN
Paid                                                                                                                                                  self-employed
Preparer
         Firm’s name a                                                                                                                          Firm’s EIN a
Use Only Firm’s address a                                                                                                                       Phone no.
For Privacy Act and Paperwork Reduction Act Notice, see instructions. BAA                                                                        REV 04/27/22 TTBIZ    Form 8453-C (2021)
                        Case 25-10296       Doc 1      Filed 06/30/25 Entered 06/30/25 19:07:33                     Desc Main
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                                                             Corporation
     Form 1120                                               Tax History                                                      2021
                                                           G Keep for your records

Name as Shown on Return                                                                         Employer Identification No.
Premier Lumber Company, Inc.                                                                    XX-XXXXXXX


                                   2016             2017              2018             2019               2020                 2021

 1     Gross receipts                                                                                                                 0.
 2     Cost of sales                                                                                                                  0.
 3     Gross profit                                                                                                                   0.
 4     Net capital gain
 5     Other income                                                                                                                   0.
 6     Total income                                                                                                                   0.
 7     Salaries                                                                                                                       0.
 8     Depreciation
 9     Other
       deductions                                                                                                              36,000.
10     Total deductions                                                                                                        36,000.
11     Taxable income                                                                                                         -36,000.
12     Income tax                                                                                                                   0.
13     AMT/BEMT
       minimum tax
14     General
       business credits
15     Other credits
16     PHC tax
17     Recapture taxes
18     Tax liability                                                                                                                  0.


                                               For Controlled Group Members Only

                    Enter your share of the $50,000, $25,000 and $9,925,000 taxable income brackets, and your share of
                                             the additional 5% tax and 3% tax for the prior years.

                                   2017             2018              2019             2020              2021

19 $50,000
   bracket
20 $25,000
   bracket
21 $9,925,000
   bracket
22 Additional
   5% tax
23 Additional
    3% tax

Other Information

24 Tax return                      2016             2017              2018             2019              2020                 2021
   preparation fee



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         Case 25-10296           Doc 1         Filed 06/30/25 Entered 06/30/25 19:07:33      Desc Main
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Name of Corporation :          Premier Lumber Company, Inc.
Identification Number:         XX-XXXXXXX
Tax Year Ending:               December 31, 2021

                        Election to Amortize/Deduct Organizational Expenses
                                 Statement Pursuant to IRC Regulation 1.248-1(c)

The corporation hereby elects under IRC Section 248 to:

   1    Deduct organizational expenditures limited to $5,000 incurred                         2,000.

   2    Amortize remaining organizational expenditures incurred                                     0.

   3    Number of months (not less than 180) to amortize expenditures

   4    Total organizational expenditures                                                     2,000.

   5    Name of the trade or business
       Premier Lumber Company, Inc.

   6    Description of the trade or business
       Organization and amendment fees




   7    Month in which business began                                                     October


   8                          Description of                          Date         Date   Amount
                          Organizational Expense                    Incurred       Paid

       Secretary of State - Texas                                  10/06/21 10/06/21         2,000.




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   Form 1120                Contribution Limitation/Carryover Worksheet         2021
 Page 1, Line 19                             G Keep for your records

Name as Shown on Return                                                                    Employer Identification No.
Premier Lumber Company, Inc.                                                               XX-XXXXXXX

                                                 A                   B                   C                    D
                                               Amount            Deduction          Adjustment              New
                                                                 Allowed in           under               Carryover
                                                                Current Year          Section
                                                                                    170(d)(2)(B)

 1 a Total current year contribution
     subject to 10%/25% limitation                       0.                                                              0.
   bPortion of line 1a subject to
     the 10% limitation                                  0.                  0.                                          0.
   c Portion of line 1a subject to
     the 25% limitation                                  0.                  0.                                          0.
 2     Carryover from:
   a 1st preceding period
   b 2nd preceding period
   c 3rd preceding period
   d 4th preceding period
   e 5th preceding period
 3 Totals                                                0.                                                              0.
 4 Amount of carryover to expire next year due to 5 year limitation

 5 Total amount of contribution carryover to next year                                                                   0.

                             Computation of Taxable Income for 10% Limitation
 6      Taxable income computed without Section 179 or contribution                                          -36,000.
 7      Section 179 deduction (for purposes of contribution limitation)

 8      Taxable income computed with Section 179 deduction. Line 6 minus line 7

 9
     a Maximum 10% contribution. 10% of line 8
     b Maximum 25% contribution. 25% of: line 8 minus line 10a
     c Maximum 100% contribution. 100% of: line 8 minus the sum of line 10a and 10b

10     Contribution deductions for purposes of 179 limitation
     a 10%: Smaller of: line 1b plus line 2 column A plus line 25 b-f, or line 9a
     b 25%: Smaller of: line 1c column A, or line 9b
     c 100%: Smaller of: 100% contributions or line 9c
       Total contribution deduction for purposes of section 179 limitation

11      Taxable income computed with contribution deduction. Line 6 minus line 10                            -36,000.

12      Actual section 179 deduction

13      Taxable income computed with actual section 179 deduction.
        Line 6 minus line 12                                                                                             0.
14      Net operating loss deduction (from Net Operating Loss Worksheet, Column A),
        limited by line 13 of this worksheet

15      Taxable income for purposes of contribution deduction.
        Line 13 minus line 14                                                                                            0.
16      Maximum contribution. 10% of line 15                                                                             0.
17      Actual 10% contribution deduction. Smaller of line 1b plus line 2, column A,
        or line 16                                                                                                       0.
                          Temporary suspension of 10% limitation on
                certain cash contributions made in 2021 (subject to 25% limit)

     A Taxable income (from line 15 above)                                                       0.
     B Less 10% contribution deduction, if any, from line 17 above                               0.
     C Maximum cash contribution allowed (line A - line B) * 25%                                 0.
     D Quaified cash contributions made during calendar year 2021                                0.
     E Deduction taken in the current year. Smaller of: line C or D (goes to Line 1, col B )                             0.
     F Add line 17 and line E                                                                                            0.
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Premier Lumber Company, Inc.                                                             XX-XXXXXXX     Page 2



                 Qualified conservation contributions by farmers and ranchers
                 or Alaska Native Corporations (not subject to the 10% limit)

18 a   Taxable income (from line 15 above)                                                   0.
   b   Less other contribution deductions, if any, from line F above                         0.
   c   Maximum additional contribution allowed (line 18a - line 18b)                         0.
   d   Current year qualified conservation property contributions
   e   Unused farmer/rancher carryovers from tax years prior to 2021
19     Deduction taken in the current year. Smaller of: line 18c or sum of 18d and 18e                     0.
20     Add lines 17, E, and 19                                                                             0.
21     Carryover of unallowed conservation property contributions to 2022



     Temporary suspension of 10% limitation for certain disaster-related contributions

22 a   Taxable income (from line 15 above)                                                   0.
   b   Less all other charitable contributions, if any, from line 20 above                   0.
   c   Maximum additional contribution allowed (line 22a - line 22b)                         0.
   d   Current year qualified disaster contributions
   e   Total available disaster carryovers from prior years limited to
       remaining available 10% of contribution deduction                                     0.
23     Deduction taken in the current year. Smaller of: line 22c or sum of 22d and 22e                     0.
24     Add lines 17, E, 19, and 23: Total allowable deduction (to 1120, line 19)                           0.

       Note: Prior year carryovers used are subject to the 10% income limitation.
25     Disaster Carryover:               Total Amount         Used in CY       Remaining C/O
     a Current year
     b 1st preceding period
     c 2nd preceding period
     d 3rd preceding period
     e 4th preceding period
     f 5th preceding period
      Totals

26 Amount of carryover to expire next year due to 5 year limitation

27 Total carryover of unused disaster contributions to 2022

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  Form 1120, Line 29a               Net Operating Loss Worksheet              2021


Name                                                                                   Employer Identification Number
Premier Lumber Company, Inc.                                                          XX-XXXXXXX

                                             Important Information
                                          Tax Cuts and Jobs Act (TCJA)

  For taxable years ending after December 31, 2017, Net Operating Loss (NOL) rules for carrybacks and
  carryforwards have changed under the Tax Cuts and Jobs Act (TCJA). Except for certain farming and
  insurance company (other than life insurance) losses, NOLs can no longer be carried back. NOLs can
  now be carried forward indefinitely.



                          NOLs under Tax Cuts and Jobs Act of 2017 Smart Worksheet

   A Is the Net Operating Loss from certain farming losses?                                  Yes          No
   B If "Yes" to line A, is the business electing out of the two year carryback?             Yes          No
     QuickZoom to Election Statement
     QuickZoom to Form 1139

  NOL’s under Tax Cuts and Jobs Act of 2017 : Carryover indefinitely

                         NOL                                       A                   B                   C
                       Carryover                               Carryover              Less             Adjusted
                         Year                                                      Carrybacks          Carryover

2020
2019
2018
Totals
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   NOL’s under Taxpayer Relief Act of 1997 : Two year carryback, twenty year carryover

                           NOL                                  A              B                  C
                         Carryover                          Carryover        Less             Adjusted
                           Year                                           Carrybacks/         Carryover
                                                                          Carryovers

2017
2016
2015
2014
2013
2012
2011
2010
2009
2008
2007
2006
2005
2004
2003
2002
2001
Totals


   NOL’s prior to Taxpayer Relief Act of 1997: Three year carryback, fifteen year carryover

                           NOL                                  A              B                  C
                         Carryover                          Carryover        Less             Adjusted
                           Year                                           Carrybacks/         Carryover
                                                                          Carryovers

2011
2010
2009
2008
2007
2006
Totals

 Premier Lumber Company, Inc.                                                  XX-XXXXXXX
                                     Net Operating Loss Summary
 NOL             A                B              C                D             E                 F
 C/O           NOL            Deduction      Adjustment       Remaining     Remaining         Remaining
 Year        Carryover        Allowed in    Under Section     Carryover     Carryover         Carryover
             Available       Current Year     172(b)(2)        20 Years     Indefinite        15 Years*

2020
2019
2018
2017
2016
2015
2014
2013
2012
2011
2010
2009
2008
2007
2006
2005
2004
2003
2002
2001
Totals

Less: Carryover expiring due to 20-year limitation
Less: Carryover expiring due to 15-year limitation
Add: Current year net operating loss                                                             36,000.
Less: Carryback of current year net operating loss
Net operating loss carryover to next year                                                        36,000.
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     Form 1120                 Carryovers/Carryforwards Worksheet                   2021
                                             G Keep for your records

Name as Shown on Return                                                          Employer ID No.
Premier Lumber Company, Inc.                                                     XX-XXXXXXX

                                                                         To             To
                                                                       Current         Next
                                                                        Year           Year

Form 1120:
  Contributions carryover
  Net Operating Loss carryover                                                          36,000.

Schedule D (Form 1120):
  Unused capital loss carryover
  Less current year capital loss carried back
  Carryover expiring next year due to 5 year limitation
  Capital loss carryover to next year

Form 2220:
  Tax

Form 4562:
  Section 179 carryover

Form 4797:
  Nonrecaptured net Section 1231 losses ' 2016
  Nonrecaptured net Section 1231 losses ' 2017
  Nonrecaptured net Section 1231 losses ' 2018
  Nonrecaptured net Section 1231 losses ' 2019
  Nonrecaptured net Section 1231 losses ' 2020
  Nonrecaptured net Section 1231 losses ' 2021
   Total nonrecaptured net Section 1231 loss carryforwards

Form 8827:
  Minimum tax credit carryforward

Form 3800:
  General business credit carryforward



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    Form 1120              Accumulated Depreciation, Amortization           2021
    Schedule L                   and Depletion Worksheet
                                            G Keep for your records

Name as Shown on Return                                                    Identification Number
Premier Lumber Company, Inc.                                               XX-XXXXXXX

Book Accumulated Depreciation, Amortization and Depletion

                                                                                    Depreciation

Beginning balance (From Schedule L, column a, line 10b)
Current book expense
Less accumulated - assets sold
Less accumulated - assets retired
Ending balance (To Schedule L, column c, line 10b)
Check to enter on Balance Sheet              X Yes         No

                                                                                    Amortization

Beginning balance (From Schedule L, column a, line 13b)
Current book expense
Less accumulated - assets sold
Less accumulated - assets retired
Ending balance (To Schedule L, column c, line 13b)
Check to enter on Balance Sheet              X Yes         No

                                                                                      Depletion

Beginning balance (From Schedule L, column a, line 11b)
Current book expense
Less accumulated - assets sold
Less accumulated - assets retired
Ending balance (To Schedule L, column c, line 11b)
Check to enter on Balance Sheet              X Yes         No

                                 Total Depreciation, Amortization,
                                       and Land Worksheet
                                                                                    Depreciation

Beginning balance building/other assets
Less assets sold
Less assets retired
Plus new assets
Adjustments to ending buildings and other depreciable assets
Ending balance building/other assets (To Schedule L, column c, line 10a)
Check to enter on Balance Sheet              X Yes         No


                                                                                        Land

Beginning balance land assets
Less land assets sold
Less land assets retired
Plus new land assets
Adjustments to ending land assets
Ending balance (To Schedule L, column d, line 12)
Check to enter on Balance Sheet              X Yes         No


                                                                                    Amortization

Beginning balance intangible assets
Less amortized assets sold
Less amortized assets retired
Plus new amortized assets
Adjustments to amortized assets
Ending balance (To Schedule L, column c, line 13a)
Check to enter on Balance Sheet              X Yes         No
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Premier Lumber Company, Inc.                                                XX-XXXXXXX                1



Additional information from your 2021 Federal Corporation Tax Return

Form 1120: US Corporation Income Tax Return
Other Income                                                                 Continuation Statement
                                       Description                                       Amount
Farm Income                                                                                           0
Recovery of bad debts                                                                                 0
Sec 179 recapture (Form 4797, p.2)                                                                    0
Sec 280F Recapture (Form 4797, p.2)                                                                   0
State tax refunds                                                                                     0
Taxable insurance proceeds                                                                            0
                                                                            Total                     0

Form 1120: US Corporation Income Tax Return
Other Deductions                                                             Continuation Statement
                                       Description                                       Amount
Legal and professional                                                                          19,000
Meals (100%)                                                                                          0
Outside services/independent contractors                                                        15,000
Organizational Costs                                                                              2,000
                                                                            Total               36,000
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                             EXHIBIT B
TexStar Lumber, Inc. (Tax Returns for 2021, 2022, and 2023)
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B2030 (Form 2030) (12/15)


                                                            United States Bankruptcy Court
                                                                                   Eastern District of Texas

In re        TexStar Lumber, Inc.

                                                                                                                           Case No.

Debtor                                                                                                                     Chapter                      11


                                         DISCLOSURE OF COMPENSATION OF ATTORNEY FOR DEBTOR

1.      Pursuant to 11 U .S.C. § 329(a) and Fed. Bankr. P. 2016(b), I certify that I am the attorney for the above named debtor(s) and that
        compensation paid to me within one year before the filing of the petition in bankruptcy, or agreed to be paid to me, for services rendered
        or to be rendered on behalf of the debtor(s) in contemplation of or in connection with the bankruptcy case is as follows:

        For legal services, I have agreed to accept ................................................................................................................................................
                                                                                                                                                                     $15,000.00

        Prior to the filing of this statement I have received ................................................................................................................................................
                                                                                                                                                                    $15,000.00

        Balance Due ................................................................................................................................................            $0.00

2.      The source of the compensation paid to me was:

        ❑ Debtor                         ✔ Other (specify)
                                         ❑                                Karthick Chandrasekaran

3.      The source of compensation to be paid to me is:

        ✔ Debtor
        ❑                                ❑ Other (specify)
4.      ✔ I have not agreed to share the above-disclosed compensation with any other person unless they are members and associates of my
        ❑
        law firm.

        ❑ I have agreed to share the above-disclosed compensation with a other person or persons who are not members or associates of my
        law firm. A copy of the agreement, together with a list of the names of the people sharing in the compensation, is attached.

5.      In return for the above-disclosed fee, I have agreed to render legal service for all aspects of the bankruptcy case, including:

        a.      Analysis of the debtor' s financial situation, and rendering advice to the debtor in determining whether to file a petition in
                bankruptcy;

        b.      Preparation and filing of any petition, schedules, statements of affairs and plan which may be required;

        c.      Representation of the debtor at the meeting of creditors and confirmation hearing, and any adjourned hearings thereof;

6.      By agreement with the debtor(s), the above-disclosed fee does not include the following services:




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B2030 (Form 2030) (12/15)


                                                             CERTIFICATION

                        I certify that the foregoing is a complete statement of any agreement or arrangement for payment to
                me for representation of the debtor(s) in this bankruptcy proceeding.

                        06/30/2025                            /s/ Lloyd A. Lim
                Date                                         Lloyd A. Lim
                                                             Signature of Attorney
                                                                                                   Kean Miller LLP
                                                                                                      PO Box 3513
                                                                                            Baton Rouge, LA 70821
                                                                                             Phone: (225) 389-3755

                                                                                 Kean Miller LLP
                                                            Name of law firm




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